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                       IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

 In re:                                      )   Chapter 11 (Subchapter V)
                                             )   (Joint Admin. Requested)
                                             )
 CRAVE BRANDS, LLC,                          )   Case No. 21-04729
                                             )
 MEATHEAD RESTAURANTS, LLC,                  )   Case No. 21-04731
                                             )
           Debtors.                          )   Hon. Timothy A. Barnes
                                             )
                                             )

                                       NOTICE OF MOTION

 To:      See attached service list.

        PLEASE TAKE NOTICE that on Tuesday, April 13, 2021 at 4:00 p.m., I will appear
before the Honorable Judge Timothy A. Barnes, or any judge sitting in that judge’s place, and
present Debtors’ Motion to Use Cash Collateral and to Provide Adequate Protection, a copy
of which is attached.

       This motion will be presented and heard electronically using Zoom for Government. No
personal appearance in court is necessary or permitted. To appear and be heard on the motion,
you must do the following:

       To appear by video, use this link: https://www.zoomgov.com/. Then enter the meeting
ID and password.

        To appear by telephone, call Zoom for Government at 1-669-254-5252 or 1-646-828-
7666. Then enter the meeting ID and password. Those appearing before telephone will require
extra clearance before being allowed into the hearing.

       Meeting ID and password. The meeting ID for this hearing is 161-236-0271 and the
passcode is 04132100. The meeting ID and password can also be found on the judge’s page on
the court’s web site.
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                                                 Respectfully submitted,

                                                 CRAVE BRANDS, LLC and
                                                 MEATHEAD RESTAURANTS, LLC


                                                 By: /s/ David A. Warfield
                                                    One of their attorneys
 Lauren Newman, Esq. (IL Bar No. 6188355)
 Thompson Coburn LLP
 55 East Monroe, 37th Floor
 Chicago, Illinois 60603
 Telephone: (312) 580-2328
 Fax: (312) 580-2201
 lnewman@thompsoncoburn.com

 David A. Warfield
 Thompson Coburn LLP
 One U.S. Bank Plaza, Suite 2700
 St. Louis, Missouri 63101
 Telephone: (314) 552-6079
 Fax: (314) 552-7000
 dwarfield@thompsoncoburn.com

 Proposed Counsel for Debtors


                                CERTIFICATE OF SERVICE


       The undersigned a non-attorney, being first duly sworn on oath, deposes and says that she
served a copy of this Notice of Motion and Debtors’ Motion to Use Cash Collateral and to
Provide Adequate Protection, a copy of which is served upon you, via FEDERAL EXPRESS or
USPS Overnight Delivery, on April 12, 2021.


                                                   /s/ David Warfield




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                                      SERVICE LIST


STREET ADDRESSES

Detection Systems
1111 Church Rd
Aurora, IL 60505

Alpha Baking Company
36230 Treasury Center
Chicago, IL 60694

Alsco
2641 S. Leavitt St.
Chicago, IL 60608

C150-II 709 S. Main LLC
c/o Campus Advantage
709 S. Main St.
Normal, IL 61761

City of Champaign Sales Tax
Finance Department-Annette
102 N. Neil
Champaign, IL 61820

Dreamspace Munster, LLC
c/o Lee & Associates, LLC
10123 Alliance Rd., Suite 300
Cincinnati, OH 45242

DTAT Enterprises Inc.
Iroquis Federal
108 Arbours Dr.
Savoy, IL 61874

Eichenhauer Services Inc.
2465 N. 22nd St
Decatur, IL 62526

Fifth Third Bank
222 S. Riverside Plaza
29th Floor
Chicago, IL 60606


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FW IL-RIverview Plaza, LLC
Roscoe Square Shopping Center
3043 Solutions Center
Chicago, IL 60677

MEPT Stony Creek, LLC
c/o Hamilton Partners, Ins
300 Park Blvd., Suite 201
Itasca, IL 60143-2636

Well Done
Hospitality Group, LLC
430 W. Erie St., Suite 403
Chicago, IL 60654

Willow Festival Regency LLC
c/o Regency Centers-Willow Festival
1568 Solutions Center
Chicago, IL 60677-1005

William J. Factor, Esq.
counsel for LQD Financial Corp.
150 W. Madison Street, Suite 1500
Chicago, IL 60602

Gretchen Silver, Trial Attorney
Office of the United States Trustee
219 S. Dearborn Street, Room 873
Chicago, IL 60604

Matthew Brash
Newpoint Advisors Corporation
1320 Tower Road
Schaumburg, IL 60173

Bob Handler
Commercial Recovery Associates, LLC
205 W. Wacker Drive
Suite 918
Chicago, IL 60606

LQD Financial Corp.
370 North Carpenter Street
Chicago, IL 60607

Servcorp West Lake LLC

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444 West Lake Street Floor 17
Chicago, IL 60606

Small Business Administration
14925 Kingsport Road
Fort Worth, TX 76155

P.O. BOX ADDRESSES (OVERNIGHT USPS)

Illinois Department of Revenue
Springfield, IL 62726
City of Bloomington Water
P.O. Box 801214
Kansas City, MO 64180-1214

Element Heating and Cooling
P.O Box 72
Plainfield, IL 60544

Indiana Department of Revenue
P.O. Box 7229
Indianapolis, IN 46207

NuCo2 LLC
P.O. Box 417902
Boston, MA 02241-7902

Roberts Sysco Inc.
P.O. Box 620
Lincoln, IL 62656

Staples Business Advantage
P.O. Box 660409
Dallas, TX 75266-0409




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                          IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE NORTHERN DISTRICT OF ILLINOIS
                                      EASTERN DIVISION


 In re:                                        )   Chapter 11 (Subchapter V)
                                               )
 CRAVE BRANDS, LLC,                            )   Case No. 21-04729
                                               )
 MEATHEAD RESTAURANTS, LLC                     )   Case No. 21-04731
                                               )
               Debtors.                        )   (Joint Administration Requested)
                                               )
                                               )
                                               )

                  DEBTORS’ MOTION TO USE CASH COLLATERAL AND TO
                          PROVIDE ADEQUATE PROTECTION


          Comes now Crave Brands, LLC (“Crave”) and Meathead Restaurants, LLC (“Meathead”)

(Crave and Meathead are collectively the “Debtors”), by undersigned counsel, and file the Debtors’

Motion to Use Cash Collateral and to Provide Adequate Protection (the “Motion”). In support of

the Motion, the Debtors rely upon and incorporate by reference the Declaration of Steve Karfaridis

in Support of First Day Pleadings (the “First Day Declaration”) filed with the Court

contemporaneously with this Motion. In further support of the Motion, the Debtors respectfully

state as follows:

                  JURISDICTION AND VENUE AND DEBTOR BACKGROUND

          1.       This Court has subject matter jurisdiction to consider this matter pursuant to 28

U.S.C. §§ 157 and 1334 and Local Rule 40.3.1(a) of the Local Rules of the United States District

Court for the Northern District of Illinois.

          2.       This is a core proceeding pursuant to 28 U.S.C. §157(b)(2)(M). Venue is proper

before this Court pursuant to 28 U.S.C. §§ 1408 and 1409.
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        3.       The statutory bases for the relief requested in the Motion are sections 105(a), 361

and 363 of title 11 of the United States Code (the “Bankruptcy Code”) and Rules 2002, 4001, and

9014 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”) and Rule 4001-2 of

the Local Rules of the United States Bankruptcy Court for the Northern District of Illinois (“Local

Rules”).

        4.       On April 9, 2021 (the “Petition Date”), each of the Debtors filed with this Court

voluntary petition for relief under Subchapter V of Chapter 11 of the Bankruptcy Code.1

                                         ABOUT THE DEBTORS

        5.       Meathead operates twelve company-owned fast casual restaurants in Illinois and

Indiana.     In addition, there is one franchised restaurant.            A non-debtor affiliate, Meathead

Franchising, LLC, is the franchisor. The ownership structure of the Meathead related entities (eis

as follows:

                                               Steve Karfardis
                                          Co-maker on LQD obligations


                          KW Restaurant Holdings, LLC, a single member LLC
                                    Co-maker on LQD obligations
                              Member interest owned by Steve Karfardis


                                           Crave Brands, LLC
                                      Co-maker on LQD obligations
                         Member interests owned by KW Restaurant Holdings LLC
                      (67%), Meathead Investments, LLC (25%),and others (7%) (All
                                            amounts rounded)
                                 Filed bankruptcy on 4/9/21 at 3:47 p.m.


                             Meathead Restaurants, LLC, a single member LL

                                      Co-maker on LQD obligations
                             Member interest owned by Crave Brands, LLC
                         Owns sole member interest in Meathead Franchising LLC
                                 Filed bankruptcy on 4/9/21 at 3:55 p.m.


1
  LQD Financing has asserted that the Debtors’ bankruptcy filings were not properly authorized. The Debtors dispute
LQD Financing’s argument. However, nothing in this Motion is intended to prejudice LQD Financing from asserting
its arguments regarding the purported lack of authority.


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                                                 LQD LOAN

         6.      Meathead maintains it main operating account at Fifth Third Bank (the “Fifth Third

Operating Account”).

         7.      On February 22, 2019, the Debtors, as borrowers, certain other non-debtors2, and

LQD Business Finance Loan Company,3 as lender (the “Lender”), executed that certain Loan

Agreement (as thereafter amended, the “Loan Agreement”) pursuant to which the Lender agreed

to loan funds and extend financial accommodations to the Debtors and certain non-debtor

borrowers (the borrowers under the Loan Agreement shall collectively be referred to as the

“Borrowers”).

         8.      Copies of the Loan Agreement and the subsequent amendments and forbearance

agreement are attached hereto and incorporated herein as follows:



    Document Name                                               Date                         Exhibit

    Loan Agreement                                              February 22, 2019            A

    Amendment                                                   March 25, 2020               B

    Amendment                                                   July 2, 2020                 C

    Amended and Restated Forbearance and                        December 18, 2020            D

    Reaffirmation Agreement

         9.      The indebtedness described in the Loan Agreement matured on March 31, 2021.
The Debtors were not in payment default at maturity. Moreover, the Debtors were not in violation

of any financial covenants at the time of maturity.

         10.     As of the Petition Date, the balance due to the Lender is $6,650,000.00 in principal

plus accrued interest at the rate of 17% per annum (the “LQD Indebtedness”).


2
  The non-debtor borrowers are Steve Karfaridis, KW Restaurant Holdings Group, LLC, and Meathead Franchising,
LLC.
3
  Upon information and belief, LQD Business Finance Loan Company thereafter assigned its interests to an affiliate,
LQD Financial Corp. Unless indicated to the contrary, all references to the “Lender” in this Motion shall be deemed
to refer to LQD Financial Corp.


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        11.      To secure the Obligations (as defined in the Loan Agreement), each of the

Borrowers granted to the Lender a security interest in the “Collateral” (as defined in the Loan

Agreement).       To further secure the Obligations under the Loan Agreement, certain of the

Borrowers pledged to the Lender the “Pledged Stock” (as defined in the Loan Agreement”).4

        12.      Certain of the Collateral constitutes “cash collateral” within the meaning of Section

363(a) of the Bankruptcy Code including, all cash and cash equivalents and the proceeds of the

sale of the Meatheads’ inventory (collectively, the “Cash Collateral”).5

        13.      The Lender filed UCC-1 financing statements with the Delaware Secretary of

State’s Office against the Debtors.

        14.      In these cases, LQD’s “Cash Collateral” consists of (a) the funds in the Fifth Third

Operating Account on the Petition Date, (b) the proceeds of the sale of all inventory on hand as of

the Petition Date, and (c) the expected ERC payment (as described below).

        15.      No other creditor holds or asserts an interest in the Cash Collateral.

        16.      The Debtors is in the process of developing a budget of expected cash receipts and

expenditures for the 13 weeks beginning on or about the Petition Date (the “Cash Budget”). A

copy of the Cash Budget will be filed separately.

                                    COVID RELATED PROGRAMS

       17.       In 2020, Meathead received a total of $982,112 in a Paycheck Protection Program

loan from Fifth Third Bank (“PPP-1 Loan”). Meathead used the PPP-1 Loan proceeds to pay
authorized expenses throughout 2020. Meathead has applied for forgiveness of the PPP-1 Loan

and expects a favorable response in the coming weeks.

       18.       In 2021, Meathead received a total of $1,438,844.00 in Paycheck Protection

Program Second Draw loans from Fifth Third Bank (“PPP-2 Loan”). Meathead deposited the

PPP-2 Loan in an account at Chase Bank (the “Chase Account”). The Lender does not hold a lien

or security interest in the Chase Account or the funds located therein. In order to preserve the

4
  While the Loan Agreement uses the term “Pledged Stock”, in fact the assets pledged were member interests in limited
liability companies. The Motion nevertheless uses the term “Pledged Stock” for the sake of consistency.
5
  Crave does not own any inventory or operating assets and therefore has no cash collateral.


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future forgivability of the PPP-2 Loan, Meathead must abide by PPP-2 limitations on permissible

uses for the funds.6

        19.       On or about March 4, 2021, Meathead submitted the appropriate paperwork for

payment of an Employee Retention Credit (“ERC”). The ERC is authorized by Section 2301 of

the Coronavirus Aid, Relief, and Economic Security Act (the “CARES Act”), as thereafter

amended. Upon information and belief, Meathead will receive a ERC payment of slightly under

$700,000 on or about June 1, 2021.

        20.       In 2020, Crave also received a COVID-19 Economic Injury Disaster Loan from the

U.S. Small Business Administration (the “EIDL Loan”) in the amount of $149,500. This is an

unsecured loan with a 20 year term that bears interest at 1 percent per annum. Upon information

and belief, at the present time, the law does not permit the EIDL Loan to be forgiven.

                              NEED FOR USE OF CASH COLLATERAL

         21.      The Debtors request entry of an Interim Order pursuant to Bankruptcy Rule

4001(b)(2) and the Local Rules and haves an immediate need to obtain use of Cash Collateral (in

the amount and in the manner set forth in the Cash Budget in order to, among other things, preserve

and maintain the value of its assets and business and maximize the return to all creditors. An

immediate and critical need exists for the Debtors to use the Cash Collateral, consistent with the

Cash Budget, for working capital purposes, payment of employees, other general corporate

purposes of the Debtor, and the satisfaction of costs and expenses of administering these cases.
The Debtors’ ability to operate through the use of the Cash Collateral is vital to the Debtors and

their effort to maximize the value of its assets. Absent entry of an order authorizing the use of Cash

Collateral, the Debtors’ estates and reorganization efforts will be immediately and irreparably

harmed.
                                             APPLICABLE LAW

         22.      Section 363(c)(1) of the Bankruptcy Code authorizes a debtor to use property of


6
 Neither of the PPP loans are included for purposes of determining eligibility for relief under Subchapter V of Chapter
11. In re Parking Management, Inc., 620 B.R. 544 (Bankr. D. Md. 2020)


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the estate in the ordinary course of business. To use cash collateral, however, one of two

conditions must be satisfied: (1) each entity with an interest in the cash collateral consents to its

use, or (2) the court, after notice and a hearing, authorizes such use. 11 U.S.C. § 363(c)(2). In the

latter instance, the court is instructed to prohibit or condition the use of cash collateral as is

necessary to provide adequate protection for the interests of the secured party. 11 U.S.C. § 363(e).

        23.     Generally, adequate protection can be provided through periodic cash payments,

replacement liens, and such other relief (other than administrative expense claims) that will result

in the secured creditor receiving the indubitable equivalent of its interest in the cash collateral

being used. 11 U.S.C. § 361.

                                     ADEQUATE PROTECTION

        24.     The Debtors propose to provide adequate protection to Lender by (a) granting to

the Lender replacement liens on the Collateral to the same extent, validity and priority of the

Lender’s pre-petition liens on the Collateral to secure any diminution in value of Lender’s interest

in the Cash Collateral as of the Petition Date7; (b) to the fullest extent permitted by law and the

rules implementing the Paycheck Protection Program, making all payments pertaining to the

ordinary course of business operations from the Chase Account and not from the Fifth Third

Account; and (c) granting such other accommodations to the Lender as are customary in cash

collateral orders in similar cases. To the fullest extent permitted by the CARES Act, the Debtors

intend to pay immediately the ERC to Lender as soon as possible as after receipt for application to

the principal amount of the LQD Indebtedness




7
 For the avoidance of any doubt, the Debtors do not propose to provide a replacement lien on the Chase Account
because the Lender did not have a prepetition lien on the Chase Account or the funds located therein.


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                                    REQUEST FOR RELIEF

       25.     The Debtors request that the Court enter and interim and final order authorize

Debtors to use Cash Collateral (in addition to the funds in the Chase Account as permitted by the

Paycheck Protection Program) as necessary for the ongoing business operations of the Debtors

consistent with the Cash Budget (with a variance not to exceed 10% per budget item).

       26.     The Debtors also request that the Court grant adequate protection to Lender by

providing a replacement lien on the Collateral to the same extent, validity and priority of the

Lender’s pre-petition liens on the Collateral to secure any diminution in value of Lender’s interest

in the Cash Collateral as of the Petition Date and direct the Debtors to pay the ERC proceeds to

Lender after receipt to the fullest extent permitted by the CARES Act.

                                             NOTICE

       27.     The Debtors have served notice of this Motion on (a) William J. Factor, Esq.,

counsel for LQD Financial Corp., 105 W. Madison Street, Suite 1500, Chicago, IL 60602, (b)

Gretchen Silver, Trial Attorney, Office of the United States Trustee, 219 S. Dearborn Street, Room

873, Chicago, IL 60604, (c) Matthew Brash, Newpoint Advisors Corporation, 1320 Tower Road,

Schaumburg, IL 60173, (d) Bob Handler, Commercial Recovery Associates, LLC, 205 W. Wacker

Drive, Suite 918, Chicago, IL 60606, and (e) those creditors appearing on the List of 20 Largest

Unsecured Creditors filed in the Debtors’ cases, and (f) LQD Financial Corp., 370 Carpenter St.,

Chicago, IL 60607 (collectively, the "Notice Parties").

       WHEREFORE, the Debtors respectfully request that this Court enter an order (a)

approving the terms of the proposed cash collateral order submitted simultaneously with the

Motion, (b) scheduling a hearing to approve the Motion on a final basis, and (c) granting such

other and further relief as is just and equitable under the circumstances.




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                                             Respectfully submitted,

                                             CRAVE BRANDS, LLC and
                                             MEATHEAD RESTAURANTS, LLC


                                             By: /s/ David A. Warfield
                                                One of their attorneys
Lauren Newman, Esq. (IL Bar No. 6188355)
Thompson Coburn LLP
55 East Monroe, 37th Floor
Chicago, Illinois 60603
Telephone: (312) 580-2328
Fax: (312) 580-2201
lnewman@thompsoncoburn.com

David A. Warfield
Thompson Coburn LLP
One U.S. Bank Plaza, Suite 2700
St. Louis, Missouri 63101
Telephone: (314) 552-6079
Fax: (314) 552-7000
dwarfield@thompsoncoburn.com

Proposed Counsel for Debtors




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           This Loan Agreement, (this “Agreement”), dated as of February 22, 2019, (the “Effective Date”), is made by and
           between (i) LQD Business Finance, LLC, (the “Lender”), and (ii) the below named Borrowers, (together the
           “Borrowers” and each, a “Borrower”) jointly and severally. The Borrowers and the Lender are collectively referred
           to herein as the “Parties,” and each, a “Party.”


Borrower Name       Borrower Type               Borrower Address              Borrower TIN      Borrower - State ID         Borrower -      Borrower -
                                                                                                  or Entity Type           Issuing State     State ID
                                                                                                                                             Number
Crave Brands, LLC LLC                101 California Street, Suite 2710,             833331026 Limited Liability       DE                   202151670
                                     San Francisco, CA 94111                                  Company
KW Restaurant      LLC               1278 Glenneyre Street Suite 128,           XX-XXXXXXX Limited Liability          DE                   6942734
Holdings, LLC                        Laguna Beach, California 92651                        Company
Meatheads          LLC               101 California Street, Suite 2710,         XX-XXXXXXX Limited Liability          IL                   05988616
Franchising, LLC                     San Francisco, CA 94111                               Company
Meatheads          LLC               101 California Street, Suite 2710,         XX-XXXXXXX Limited Liability          DE                   202121200
Restaurants, LLC                     San Francisco, CA 95356                               Company
Steve Karfaridis   Individual        1278 Glenneyre Street, Suite 128,          XXX-XX-XXXX Drivers License           CA                   C2093949
                                     Laguna Beach, CA 92651

           1.        DEFINITIONS. When used herein, the following terms shall have the following meanings:

                Borrowers                  The above listed Borrowers jointly and severally

                Principal Amount           $6,500,000.00

                Contract Funding Date      February 22, 2019

                Maturity Date              September 27, 2019

                First Payment Date         March 5, 2019

                Interest Rate              18%

                Daily Default Penalty      $902.78

                Number of Payments         26

                Payment Amount             $22,500.00


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                                                                                                                  EXHIBIT A
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   Payment Frequency         Weekly

   Payment Day               Tuesday of each week

   Prepayment Fee            10%

   Origination Costs         $195,000.00

   Administrative Costs      $65,000.00




2.        LOAN: The Borrowers have requested that the Lender make available to the Borrowers the loan described
herein in the Principal Amount, (the “Loan”), and the Lender is willing to make the Loan to the Borrowers under the
terms and conditions contained in this Agreement. The Lender may, with or without cause, cancel this Agreement at
any time prior to the funding of the Loan. The Contract Funding Date may be added to Section 1 of this Agreement
subsequent to the execution of this Agreement, and Borrowers hereby agree and authorize Lender to add the
Contract Funding Date. This Agreement shall commence on the Effective Date and terminate upon the payment in
full by Borrowers to Lender of all the Obligations due under this Agreement, (the “Term”). The Maturity Date shall be
extended by up to 6 months, in Lender’s sole discretion, provided that no Event of Default has occurred.

3.        EXISTING DEBT. Proceeds from the Loan shall be used to pay-off in full the indebtedness listed on Schedule
A as Payoff Indebtedness, (the “Payoff Indebtedness”). Any remaining proceeds shall be distributed to the Borrowers.
The Borrowers hereby represent and warrant that the Payoff Indebtedness is the entire indebtedness of the
Borrowers and that no other indebtedness exists except (i) ordinary course liabilities such as accounts payable, and
(ii) Approved Additional Indebtedness listed on Schedule A of this Agreement, (the “Approved Indebtedness”).

4.         REPAYMENT. On or before the Maturity Date, the Borrowers shall pay to the Lender the Principal Amount
in full, plus any Interest, fees, penalties, costs or other amounts owing under this Agreement, (together, the
“Obligations”).

5.      INTEREST. For the period commencing on the Contract Funding Date until the Loan is paid in full, the
Borrowers shall pay Interest on the unpaid Principal Amount at a rate per annum equal to the Interest Rate, or the
maximum amount allowed by applicable law, whichever is less, (the “Interest”).

6.       MANNER OF REPAYMENT. Borrowers shall pay interest on the Loan by making the Number of Payments,
with each payment equaling the Payment Amount, and on the Payment Frequency specified in Section 1 of this
Agreement, (each, an “Installment Payment,” and collectively, the “Installment Payments”). Each Installment
Payment shall be made electronically on the Payment Day by automated clearing house withdrawals from the Bank
Account referenced in Section 10, or on other such bank account as shall be utilized by the Borrowers, (the “ACH
Withdrawals”). The Borrowers hereby irrevocably authorize the Lender to make the ACH Withdrawals. Acceptance
by the Lender of any payment differing from the designated Installment Payments does not relieve the Borrowers of
any payment obligation or other obligation under this Agreement.

In addition to the Installment Payments, the Borrowers shall repay the Principal Amount to the Lender on or before
the Maturity Date, (the “Principal Payment”). Unless the Borrowers prepay the Principal Amount, the Principal
Payment shall be made electronically on the Maturity Date by automated clearing house withdrawal from the Bank
Account referenced in Section 10, or on other such bank account as shall be utilized by the Borrowers, (the “ACH
Principal Withdrawal”). The Borrowers hereby irrevocably authorize the Lender to make the ACH Principal
Withdrawal.

7.      PREPAYMENT. The Borrowers may prepay the Loan in whole or in part at any time after the 6 month
anniversary of the Contract Funding Date. In the event the Borrowers prepay the Loan under this Section 7, the

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Borrowers shall also pay an amount equal to (a) the Prepayment Discount times (b) the amount of the prepayment.
The Prepayment Fee shall be reduced to 0% after the 12-month anniversary of the Contract Funding Date.

8.         ORIGINATION AND ADMINISTRATIVE COSTS. Simultaneously with the funding of the Loan, the Borrowers
shall pay the Origination Costs and the Administrative Costs. The Origination Costs and the Administrative Costs shall
be considered fully earned by, and owing to, the Lender upon the execution of this Agreement. The Origination Costs
and the Administrative Costs shall, at the Lender’s sole option, be (i) deducted from the Principal Amount funded, or
(ii) paid by the Borrowers through an ACH Withdrawal.

9.        GRANT OF SECURITY INTEREST. Each Borrower hereby grants to the Lender a first priority lien on and
security interest in all right, title, and interest of such Borrower in (i) all of such Borrower’s assets of every kind and
nature, personal property of every kind and nature, and real property of every kind and nature, including without
limitation, all Real Property, Personal Property, Cash, Cash Equivalents, Money, Deposit Accounts, Accounts, Accounts
Receivable, General Intangibles, Payment Intangibles, Copyrights, Patents, Trademarks, Records, Goods, Inventory,
Equipment, Fixtures, Instruments, Securities Accounts, Financial Assets, Investment Property, Certificates of Deposit,
Contracts, Documents, Documents of Title, Commercial Tort Claims, Tort Claims, Contract Claims, Health-Care
Insurance Receivables, Chattel Paper, Supporting Obligations, Letter-of-Credit Rights, ownership interests in any
entity or business, Securities, and Marketable Securities, (ii) all present and future claims, demands, causes and
choses in action in respect of any or all of the foregoing, and (iii) all payments on or under and all products and
proceeds of every kind and nature whatsoever in respect of any or all of the foregoing, including all cash and non-
cash Proceeds, and other property consisting of, arising from or relating to all or any part of any of the foregoing, in
the case of each of the foregoing, whether now owned or existing or hereafter created, acquired, or arising (all of the
foregoing, collectively, the “Collateral”). The Borrowers acknowledge and agree that the lien and security interest
granted hereunder is and shall be a continuing first priority lien on and security interest in all of the Collateral. Each
Borrower hereby irrevocably appoints the Lender, the Lender's nominee, and any other person whom the Lender
may designate, as such Borrower’s Attorney-In-Fact, with full power and authority to sign, on behalf of such Borrower,
such further instruments, financing statements, agreements or undertakings, and such certificates of title, financing
and continuation statements. and other instruments as the Lender may deem necessary or desirable to perfect,
protect and preserve the security interests hereby granted. Such financing statements may describe the Collateral
in the same manner as described herein or may contain a general description such as “all real and personal property
and other assets of whatever kind or nature, whether now owned or existing or hereafter created, acquired or arising”
or any similar type of description. If not otherwise defined herein, (a) capitalized terms used in this Section that are
defined or used in the Uniform Commercial Code of any applicable jurisdiction shall have the same meaning herein
as is ascribed to such term thereunder, and (b) if not so defined, then any such capitalized term shall have its common
meaning. Notwithstanding the foregoing, as used in this Section or elsewhere in this Agreement, “Person” means any
individual, company, corporation, limited liability company, partnership, trust or other entity of any type.
Notwithstanding the foregoing, the security interest herein granted shall not attach to any Individual Borrower’s (i)
primary personal residence or personal property. Notwithstanding anything to the contrary, Lender shall have no
security interest on any interests of KW Restaurant Holdings, LLC or Steve Karfaridis in Wahoo’s Fish Tacos.

Without limiting the foregoing, the following parties hereby pledge all stock owned by such party in Crave Brands,
LLC, (the “Pledged Stock”), and shall execute Stock Pledge Agreements in a form acceptable to Lender pledging the
Pledged Stock: KW Restaurant Holdings LLC, Woodside Advisors.

10.        BANK ACCOUNT. The Borrowers shall deposit all funds, revenues, and proceeds from their business
operations and the sale of any assets, and the business operations and sale of any assets of any of their successors,
affiliates, or subsidiaries (the “Business Funds”), into the bank accounts listed on Schedule D of this Agreement,
(together, the “Bank Account”). Schedule D is hereby incorporated into this Section 10 by reference. The Borrowers
shall not (i) deposit any Business Funds into any account other than the Bank Account, or (ii) close the Bank Account
without the Lender’s prior written consent. Failure to deposit any Business Funds into the Bank Account, or closing
the Bank Account shall constitute an Event of Default under this Agreement. The Borrowers shall grant the Lender
access to the Bank Account by providing, at the Lender’s sole option, one of the following: (i) adding the Lender as a
signor on the Bank Account, (ii) providing the Lender with a username and password for the Borrowers’ online banking

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portal, or (iii) using the Lender’s Bank Account Syncing application. In all cases, the Borrowers shall provide the Lender
with monthly Bank Account statements for each Bank Account until the Loan is paid in full.

11.      EVENTS OF DEFAULT. In addition to any event of default provided for in this Agreement, each of the
following shall constitute an “Event of Default” under this Agreement:

    (a) the Borrowers’ failure to make any payment when due under the terms of this Agreement;

    (b) any Borrower or guarantor becomes insolvent or generally fails to pay, or admits in writing its inability or
        refusal to pay, debts as they become due; or the filing of any voluntary or involuntary petition in bankruptcy
        by or regarding any Borrower or the initiation of any proceeding under any bankruptcy, reorganization, debt
        arrangement, or other case or proceeding under any bankruptcy or insolvency law against any Borrower, or
        an assignment made by any Borrower for the benefit of creditors; or the appointment of a receiver,
        custodian, trustee, or similar party to take possession of any Borrower’s assets or property;

    (c) the death or dissolution of any Borrower or guarantor;

    (d) any change in control or ownership of any Borrower;

    (e) the failure of any Borrower to deposit any funds, revenues, and proceeds into the Bank Account designated
        in Section 10;

    (f) the failure of any Borrower or guarantor to comply with or to perform any other term, obligation, covenant
        or condition contained in this Agreement or in any of the related documents or to comply with or perform
        any term, obligation, covenant or condition in any other agreement between the Lender and the Borrowers
        and/or guarantor;

    (g) any warranty, representation, covenant or statement made or furnished to the Lender by any Borrower or
        on any Borrower’s behalf under this Agreement, or any document delivered by any Borrower to the Lender
        is incorrect in any respect, either at the time the statement was made or becomes false or misleading at any
        time thereafter;

    (h) if an adverse change occurs in any Borrower’s financial condition, or if Lender believes in good faith and in
        Lender’s sole discretion, that the prospect of payment or performance under this Agreement is impaired;

    (i) default in the payment when due, or in the performance or observance of, any material obligation of, or
        condition agreed to by, any Borrower with respect to any material purchase or lease of goods or services
        where such default, singly or in the aggregate with all other such defaults, might reasonably be expected to
        have a Material Adverse Effect. Material Adverse Effect means (a) a material adverse change in, or a material
        adverse effect upon, the financial condition, operations, assets, business, properties or prospects of any
        Borrower, (b) a material impairment of the ability of any Borrower to perform any of the obligations under
        this Agreement or any documents related to this Agreement, or (c) a material adverse effect upon any
        substantial portion of the Collateral or upon the legality, validity, binding effect or enforceability against any
        Borrower of this Agreement or any documents related to this Agreement.

    (j) final judgments or awards shall be rendered against any Borrower or guarantor and shall not have been paid,
        discharged or vacated or had executions thereof stayed pending appeal within 30 days after entry or filing
        of such judgments or awards;

    (k) any lien in favor of the Lender shall at any time fail to constitute a valid and perfected lien on all of the
        Collateral purported to be encumbered thereby;

    (l) the occurrence of any fact, event or circumstance that could reasonably be expected to result in a Material
        Adverse Effect, if such default shall have continued unremedied for a period of ten (10) days after written
        notice from the Lender;

    (m) the occurrence of any event having a Material Adverse Effect; or

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    (n) if the Lender, in good faith, and in the Lender’s sole discretion, believes itself insecure as a result of its credit
        risk materially increasing or financial performance of Borrowers operations materially declining since the
        Effective Date.


12.      REMEDIES ON DEFAULT. If any Event of Default occurs, (i) all amounts owed under this Agreement will be
accelerated and become immediately due and payable without any action by the Lender or the Borrowers, or any
other person, and without notice to the Borrowers, and (ii) the Borrowers shall pay the Daily Default Penalty. The
Lender, in addition to any rights and remedies available to the Lender under this Agreement, may, in its sole
discretion, pursue any legal or equitable remedies available to it under applicable law or in equity, including without
limitation, taking any of the following actions:

    (a) Personally, or by agents or attorneys (in compliance with applicable law) take immediate possession of the
        Collateral. To that end, the Lender may pursue the Collateral where it may be found, and enter the
        Borrowers’ premises, with or without notice, demand, process of law, or legal procedure if this can be done
        without breach of the peace. If the premises on which any part of the Collateral is located are not under the
        Borrowers’ direct control, the Borrowers will exercise their best efforts to ensure that the Lender is promptly
        provided right of access to those premises. To the extent that the Borrowers’ consent would otherwise be
        required before a right of access could be granted, the Borrowers hereby irrevocably grants such consent;

    (b) Require the Borrowers to assemble the Collateral and make it available to the Lender at a place to be
        designated by the Lender that is reasonably convenient to both parties (it being acknowledged that the
        Borrowers’ premises are reasonably convenient to the Borrowers);

    (c) Sell, lease, or dispose of the Collateral, or any part of it, in any manner permitted by applicable law or by
        contract;

    (d) Take possession of and apply any cash held in any deposit account or other account of any Borrower;

    (e) Assign the ownership interests of any Borrower in any other Borrower, (the Assignable Interests), to the
        Lender without notice to any Borrower. Each Borrower hereby acknowledges and agrees that any Assignable
        Interests are Collateral, and that the Lender shall have an irrevocable right to assign such Assignable Interests
        if an Event of Default has occurred and is continuing, provided that such Assignable Interests shall
        automatically revert to such Borrower upon payment in full of all amounts owing to Lender under this
        Agreement.

    (f) Enter a Confession of Judgment in the appropriate court against the Borrowers, jointly and severally, in the
        amount due to the Lender at that time, (the "Confession of Judgment"). The Borrowers hereby expressly and
        irrevocably agree to the entry of a Confession of Judgment without additional notice. Each Borrower hereby
        acknowledges and agrees that the transactions contemplated in this Agreement are commercial
        transactions, the proceeds of which were used in the Borrowers' business, and are not consumer
        transactions. If any portion of the Confession of Judgment is found to be unlawful, then only the unlawful
        portions of the Confession of Judgment shall be stricken and the remaining portions shall remain valid and
        in effect.

    (g) Each Borrower hereby appoints the Lender, the Lender's nominee, and any other person whom the Lender
        may designate, as such Borrower’s attorney-in-fact, with full power and authority to (i) enter the Confession
        of Judgment at any time without notice to such Borrower, (ii) sign such Borrower's name on verifications of
        Collateral, (iii) send requests for verification of Collateral to such Borrower’s customers, account debtors and
        other obligors, (iv) endorse such Borrower’s name on any checks, notes, acceptances, money orders, drafts
        and any other forms of payment or security that may come into the Lender’s possession or on any
        assignments, stock powers, or other instruments of transfer relating to the Collateral or any part thereof, (v)
        sign such Borrower’s name on claims to enforce collection of any Collateral, on notices to and drafts against
        the Borrowers' accounts and other obligors, on schedules and assignments of Collateral, on notices of

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         assignment and on public records, (vi) do all things necessary to carry out this Agreement or any provision
         contained in this Agreement, (vii) file one or more financing statements disclosing its security interest in any
         or all of the Collateral without such Borrower’s signature appearing thereon, (viii) execute any such financing
         statements, or amendments and supplements to financing statements, on behalf of such Borrower without
         notice thereof to such Borrower. Each Borrower hereby ratifies and approves all acts of any such attorney-
         in-fact and agrees that neither the Lender nor any such attorney-in-fact will be liable for any acts or omissions
         nor for any error of judgment or mistake of fact or law, including for such person’s gross negligence or willful
         misconduct. The foregoing powers of attorney, being coupled with an interest, are irrevocable until all sums
         due under this Agreement have been fully paid and satisfied.

    (h) Each Borrower acknowledges and agrees that, in the event of a breach or threatened breach of the
        Borrower’s obligations hereunder, the Lender would not have adequate relief in money damages and shall
        be entitled to an injunction (including, without limitation, a temporary restraining order, preliminary
        injunction, writ of attachment, or order compelling an audit) against each Borrower, including, without
        limitation, (i) maintaining any cash management and collection procedure described herein, (ii) restraining
        the Borrowers from selling, transferring, disposing, pledging, or in any way impairing the Collateral, (iii)
        causing the Borrowers to deliver to Lender any and all contracts, book keeping and accounting records,
        invoices, purchase orders, customer files and customer lists, vendor files and vendor lists, and any other
        documents or records, whether in paper or digital form, that relate to the Borrowers’ business or the
        Collateral that are in the possession of any Borrower or a third-party who is under the control of any
        Borrower. However, no specification in this Agreement of a specific legal or equitable remedy shall be
        construed as a waiver or prohibition against any other legal or equitable remedies in the event of a breach
        or threatened breach of any provision of this Agreement. Each Borrower waives, to the fullest extent
        permitted by law, the requirement of the posting of any bond in connection with such injunctive relief.

    (i) Exercise all rights and remedies of a secured party under applicable law.

All rights of the Lender expressed herein shall be in addition to and not in limitation of those provided by applicable
law. No failure to exercise and no delay in exercising, on the part of the Lender, any right, remedy, power or privilege
hereunder, shall operate as a waiver thereof; nor shall any single or partial exercise of any right, remedy, power or
privilege hereunder preclude any other or further exercise thereof or the exercise of any other right, remedy, power
or privilege.

13.       Representations, Warranties, and Covenants. To induce the Lender to enter into this Agreement and to
induce the Lender to make the Loan, each Borrower hereby covenants and agrees with, and represents and warrants
to, the Lender that:

    (a) The information specified in Section 1 with respect to such Borrower is true and correct.

    (b) Each Borrower’s full legal name is correctly set forth in this Agreement. Except for KW Restaurant Holdings,
        LLC and Steve Karfaridis, no Borrower has transacted business at any time during the immediately preceding
        five-year period under any other legal names or trade names. The Borrowers shall not change their legal
        names or transact business under any other trade names without first giving 30 days’ prior written notice of
        intent to do so to the Lender.

    (c) Each Borrower is validly existing and in good standing under the laws of its jurisdiction of organization; and
        each Borrower is duly qualified to do business in each jurisdiction where, because of the nature of its
        activities or properties, such qualification is required.

    (d) Each Borrower is duly authorized to execute and deliver this Agreement, borrow monies hereunder, and
        perform its obligations hereunder. The execution, delivery and performance by each Borrower of this
        Agreement, and the borrowings by each Borrower hereunder, does not and will not (a) require any consent
        or approval of any government agency or authority (other than any consent or approval which has been
        obtained and is in full force and effect), (b) conflict with (i) any provision of law, (ii) the charter, by-laws or
        other organizational documents of any Borrower, or (iii) any agreement, indenture, instrument or other
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       document, or any judgment, order or decree, which is binding upon any Borrower or any of their respective
       properties, or (c) require, or result in the creation or imposition of a Lien on any asset of any Borrower (other
       than Liens in favor of the Lender created hereunder).

 (e) This Agreement is the legal, valid and binding obligation of each Borrower, enforceable against such
     Borrower in accordance with its terms, subject to bankruptcy, insolvency and similar laws affecting the
     enforceability of creditors’ rights generally and to general principles of equity.

 (f) There has been no Material Adverse Effect upon the financial condition, operations, assets, business,
     properties or prospects of the Borrowers as a whole in the twelve months preceding the date of this
     Agreement. The Borrowers do not anticipate any Material Adverse Effect to occur in the twelve months after
     the date of this Agreement.

 (g) THE BORROWERS SHALL NOT (I) OPEN OR USE ANY BANK ACCOUNTS THAT ARE NOT DISCLOSED TO THE
     LENDER, (II) CHANGE THE NAME, PASSWORD OR OTHER ACCESS INFORMATION RELATING TO ACCOUNTS
     FROM WHICH ACH WITHDRAWALS OR ELECTRONIC CHECK PAYMENTS ARE TO BE MADE WITH RESPECT
     TO THE BANK ACCOUNT SPECIFIED IN SECTION 10 WITHOUT GIVING LENDER AT LEAST TEN (10) BUSINESS
     DAYS PRIOR WRITTEN NOTICE OF SUCH CHANGE AND PROVIDING THE UPDATED INFORMATION, OR (III)
     BLOCK AN ACH WITHDRAWAL AS AGREED TO IN THIS DOCUMENT. BORROWERS ACKNOWLEDGE THAT
     LENDER HAS ACTED IN RELIANCE ON THIS SECTION 13(g), AND THAT THE MAINTENANCE BY ANY BORROWER
     OF ANY BANK ACCOUNT WHICH IS NOT DISCLOSED TO THE LENDER SHALL CONSTITUTE FRAUD.

 (h) WITH EXCEPTION OF ORDINARY COURSE TRADE DEBT, THE BORROWERS SHALL NOT INCUR ANY ADDITIONAL
     INDEBTEDNESS WITHOUT THE PRIOR WRITTEN CONSENT OF THE LENDER, INCLUDING WITHOUT
     LIMITATION ANY MERCHANT CASH ADVANCES, BANK LOANS, FACTORING LINES, LINES OF CREDIT, OR
     EQUIPMENT FINANCING. BORROWERS ACKNOWLEDGE AND AGREE THAT A BREACH OF THIS SECTION 13(h)
     WOULD MATERIALLY HARM AND IMPAIR LENDER AND REQUIRE THE ENTRY OF EQUITABLE RELIEF,
     INCLUDING WITHOUT LIMITATION THE ENTERING OF A TEMPORARY RESTRAINING ORDER TO PRESERVE THE
     COLLATERAL AND LENDER’S INTERESTS.

 (i) The Borrowers shall not (i) sell, dispose, convey or otherwise transfer its business or all or any substantial
     portion of its assets, in each case, without the express prior written consent of the Lender, (ii) sell,
     dispose, convey or otherwise transfer any of its future receivables, (iii) commit fraud, which shall include
     the failure to disclose to Lender that any security interest or lien exists upon the accounts receivables of the
     business prior to receiving funds from the Lender

 (j) The Borrowers shall disclose to the Lender the existence of any security interest or lien upon its accounts
     receivables and shall not grant any security interest or lien upon its accounts receivable or other
     assets in the future without written consent from the Lender;

 (k) During the Term, the Borrowers shall provide annual financial statements not later than 90 days after the
     close of the Borrowers’ fiscal year, and shall provide annual tax returns to the Lender by not later than May
     1 of each year during the Term. Lender shall have the right to request and receive specific financial
     statements from any Borrower at any time. Each Borrower’s financial statements and information, copies of
     which have been furnished to the Lender, and future financial statements and information (including,
     without limitation, business or financial data, reports, appraisals and projections) which will be furnished
     hereafter at the request of the Lender, fairly and accurately represent the financial condition of such
     Borrower at such dates, and since those dates there has been no material adverse change in financial or
     otherwise, such condition, operation or ownership of such Borrower. Each Borrower has a continuing,
     affirmative obligation to advise the Lender of any adverse change in its financial condition, operation or
     ownership. Any Borrower’s failure to do so is deemed to be a material breach of this Agreement. Each
     Borrower acknowledges that the information (financial and other) provided by the Borrowers has been
     materially relied upon by the Lender in connection with its decision to make the Loan.

 (l)   Each Borrower is (i) in compliance with and shall comply with all laws, orders, writs, injunctions and

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     decrees applicable to it or to its properties (except in such instances in which such law, order, writ, injunction
     or decree is being contested in good faith by appropriate proceedings diligently conducted) and (ii) has valid
     permits, authorizations and licenses to own, operate and lease its properties and to and to conduct the
     business in which it is presently engaged. Promptly upon becoming aware of any of the following, the
     Borrowers shall provide written notice describing the same and the steps being taking by the Borrower
     affected thereby with respect thereto: (x) any litigation, arbitration or governmental investigation or
     proceeding not previously disclosed by the Borrowers to the Lender which has been instituted or, to the
     knowledge of any Borrower, is threatened against any Borrower, (y) any cancellation or material change in
     any insurance maintained by any Borrower, or (z) any other event which might reasonably be expected to
     have a Material Adverse Effect.

 (m) Each Borrower has full power and authority to enter into and perform the obligations under this Agreement,
     all of which have been duly authorized by all necessary and proper action.

 (n) Each Borrower shall maintain customary business liability, workman’s compensation, business interruption,
     and other insurance business interruption insurance in amounts and against risks as are satisfactory to the
     Lender and shall provide the Lender proof of such insurance upon request, and shall cause each issuer of
     an insurance policy to provide the Lender with an endorsement (i) showing the Lender as loss payee with
     respect to each policy and naming the Lender as an additional insured with respect to each policy, (ii)
     providing that 30 days’ notice will be given to the Lender prior to any cancellation of, material reduction or
     change in coverage provided by or other material modification to such policy, and (iii) acceptable in all other
     respects to the Lender. At any time during the term of this Agreement, Lender shall have the right to require
     Borrowers to purchase insurance that Lender, in its sole discretion, deems appropriate. Unless the Borrowers
     provide the Lender with evidence of the insurance coverage required by this Agreement, the Lender may
     purchase insurance at the Borrowers’ expense to protect the Lender’s interest in the Collateral. The
     coverage that the Lender purchases may not pay any claim that is made against any Borrower in connection
     with the Collateral. The Borrowers may later cancel any insurance purchased by the Lender, but only after
     providing the Lender with evidence that the Borrowers have obtained insurance as required by the Lender.
     If the Lender purchases insurance for the Collateral, the Borrowers will be responsible for the costs of that
     insurance, including interest and any other charges that may be imposed with the placement of the
     insurance, until the effective date of the cancelation or expiration of the insurance. The costs of the
     insurance may be added to the Principal Amount of the Loan. The costs of the insurance may be more than
     the cost of the insurance the Borrowers may be able to obtain on their own.

 (o) The Borrowers have disclosed to the Lender every name under which they do business and will not conduct
     business under any name other than as disclosed to the Lender or change any of their places of business,
     unless prior written consent has been received from the Lender.

 (p) The Borrowers shall continue to conduct their business consistent with past practice.

 (q) The Borrowers have no present intention of closing their business or ceasing to operate their business, either
     permanently or temporarily, and are not aware of any future change to any Borrower that could negatively
     affect the business which Borrowers have not disclosed to the Lender.

 (r) As of the date hereof, each Borrower is solvent, and is not contemplating bankruptcy or insolvency
     proceeding and such Borrower is not contemplating closing the business within six (6) months of the date of
     this Agreement.

 (s) No litigation, arbitration proceeding, or governmental investigation is pending or, to any Borrower’s
     knowledge, threatened against any Borrower, its shareholders, officers or directors, except as set forth in
     Schedule B.

 (t) Each Borrower shall maintain and preserve, and shall cause each other Borrower to maintain and preserve,
     (i) its existence and good standing in the jurisdiction of its organization and (b) its qualification to do business
     and good standing in each jurisdiction where the nature of its business makes such qualification necessary.

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         Each Borrower agrees not to (y) permit the charter, by-laws or other organizational documents of any
         Borrower to be amended or modified in any way which could reasonably be expected to have a Material
         Adversely Effect on the interests of the Lender, and (z) change, or allow any other Borrower to change, its
         state of formation or its organizational form.

    (u) All information heretofore or contemporaneously herewith furnished in writing by any Borrower to the
        Lender for purposes of or in connection with this Agreement and the Loan hereby is, and all written
        information hereafter furnished by or on behalf of any Borrower to the Lender pursuant hereto or in
        connection herewith will be, true and accurate in every material respect on the date as of which such
        information is dated or certified, and none of such information is or will be incomplete by omitting to state
        any material fact necessary to make such information not misleading in light of the circumstances under
        which made.
    (v) Each Borrower is and will remain in compliance in all material respects with all U.S. economic sanctions laws,
        Executive Orders and implementing regulations as promulgated by the U.S. Treasury Department’s Office of
        Foreign Assets Control (“OFAC”), and all applicable anti-money laundering and counter-terrorism financing
        provisions of the Bank Secrecy Act and all regulations issued pursuant to it. No Borrower (i) is a Person
        designated by the U.S. government on the list of the Specially Designated Nationals and Blocked Persons
        (the “SDN List”) with which a U.S. Person cannot deal with or otherwise engage in business transactions, (ii)
        is a Person who is otherwise the target of U.S. economic sanctions laws such that a U.S. Person cannot deal
        or otherwise engage in business transactions with such Person or (iii) is controlled by (including without
        limitation by virtue of such person being a director or owning voting shares or interests), or acts, directly or
        indirectly, for or on behalf of, any person or entity on the SDN List or a foreign government that is the target
        of U.S. economic sanctions prohibitions such that the entry into, or performance under, this Agreement
        would be prohibited under U.S. law.
    (w) Each Borrower is in compliance with (a) the Trading with the Enemy Act, and each of the foreign assets
        control regulations of the United States Treasury Department (31 CFR, Subtitle B Chapter V, as amended)
        and any other enabling legislation or executive order relating thereto, (b) the Patriot Act and (c) other federal
        or state laws relating to “know your customer” and anti-money laundering rules and regulations. No part of
        the proceeds of any Loan will be used directly or indirectly for any payments to any government official or
        employee, political party, official of a political party, candidate for political office, or anyone else acting in an
        official capacity, in order to obtain, retain or direct business or obtain any improper advantage, in violation
        of the United States Foreign Corrupt Practices Act of 1977.
    (x) Each Borrower will not, and will not permit any other Borrower to, create or permit to exist any lien on the
        Collateral, except for (i) liens for taxes or other governmental charges not at the time delinquent or
        thereafter payable without penalty or being diligently contested in good faith by appropriate proceedings,
        (ii) liens arising in the ordinary course of business (such as liens of carriers, warehousemen, mechanics and
        materialmen and other similar liens imposed by law), (iii) liens arising in connection with capital leases (and
        attaching only to the property being leases), (iv) liens that constitute purchase money security interests on
        any property securing debt incurred for the purpose of financing all or any part of the cost of acquiring such
        property, provided that any such lien attaches to such property within 20 days of the acquisition thereof
        (and attaches solely to the property so acquired), and (v) liens arising under this Agreement.
    (y) The proceeds of the Loan will be used only for Restaurant acquisition and funding for strategic initiatives to
        enhance operations, and shall not be used for any personal expenses or for debt payments to creditors other
        than LQD. Notwithstanding the foregoing, the proceeds may be used for any purpose provided for in this
        agreement and to pay trade creditors in the ordinary course of business.
    (z) The Representations, Warranties, Covenants, and Conditions Precedent listed in Schedule C of this
        Agreement, which are hereby fully incorporated and integrated into this Agreement.

14.     FURTHER ASSURANCES. Each Borrower agrees that until the expiration or termination of this Agreement
and thereafter until all obligations to the Lender are paid in full, it shall, will, and will cause each other Borrower to,

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at its own cost and expense, promptly and duly take, execute, acknowledge and deliver all such further acts,
documents and assurances as may from time to time be necessary or as the Lender may from time to time request in
order to carry out the intent and purposes of this Agreement and the transactions contemplated hereby, including all
such actions to establish, create, preserve, protect and perfect a first priority Lien in favor of the Lender on the
Collateral (including Collateral acquired after the date hereof).
15.      WAIVER OF PRESENTMENT; DEMAND. The Borrowers hereby waive presentment, demand, notice of
dishonor, notice of default or delinquency, notice of protest and nonpayment, notice of costs, expenses or losses and
interest on those, notice of interest on interest and late charges, and diligence in taking any action to collect any sums
owing under this Agreement, including (to the extent permitted by law) waiving the pleading of any statute of
limitations as a defense to any demand against the undersigned. Acceptance by the Lender or any other holder of this
Agreement of any payment differing from the designated payments listed above does not relieve the undersigned of
the obligation to honor the requirements of this Agreement.
16.        JOINT AND SEVERAL LIABILITY. Each Borrower acknowledges and agrees that he, she, or it is jointly and
severally liable with all other Borrowers. Each Borrower acknowledges and agrees that his, her, or its joint and several
liability on this Agreement is absolute and unconditional and shall not in any manner be affected or impaired by any
acts or omissions whatsoever by the Lender, and without limiting the generality of the foregoing, each Borrower’s
joint and several liability on this Agreement shall not be impaired by any acceptance by the Lender of any security (if
any) for or guarantors upon this Agreement or by any failure, neglect or omission on the Lender’s part to resort to
any one or all of the Borrowers for payment of this Agreement or to realize upon or protect any Collateral security
therefore (if any). Each Borrower’s joint and several liability on this Agreement shall not in any manner be impaired
or affected by who receives or uses the proceeds of the Loan or for what purposes such proceeds are used, and each
Borrower waives notice of borrowing requests issued by, and loans made to, other Borrower. Such joint and several
liability of each Borrower shall also not be impaired or affected by (and the Lender, without notice to anyone, is
hereby authorized to make from time to time) any sale, pledge, surrender, compromise, settlement, release, renewal,
extension, indulgence, alteration, substitution, exchange, change in, modification or disposition of any Collateral
security (if any) for this Agreement or of any guaranty thereof (if any). In order to enforce payment of this Agreement,
foreclose or otherwise realize on any Collateral security therefor (if any), and to exercise the rights granted to the
Lender hereunder and thereunder and under applicable law, the Lender shall be under no obligation at any time to
first resort to any Collateral security, property, liens or any other rights or remedies whatsoever (if any), and the
Lender shall have the right to enforce this Agreement irrespective of whether or not other proceedings or steps are
pending seeking resort to or realization upon or from any of the foregoing. Each Borrower hereby expressly waives
and surrenders any defense to its joint and several liability on this Agreement based upon any of the foregoing.
17.       GOVERNING LAW AND VENUE. The laws of the state of Illinois govern this Agreement, without giving effect
to its conflicts of law principles. The Parties hereby irrevocably consent to the personal jurisdiction of and the setting
of venue in the state and federal courts in Cook County, Illinois.
18.       COLLECTION COSTS AND ATTORNEYS’ FEES. The Borrowers jointly and severally agree to pay to the Lender
all costs and expenses incurred or paid by such Lender, including attorneys’ fees and court costs, in connection with
the collection of all amounts due and owing under this Agreement and the enforcement of rights to any Collateral
security therefore (including, without limitation, all such costs and expenses incurred in connection with any
proceeding under the United States Bankruptcy Code involving any Borrowers or any guarantor of this Agreement).
19.        INDEMNIFICATION. The Borrowers shall defend, indemnify, and hold Lender and its officers, directors,
shareholders, employees, agents and representatives harmless for any losses, claims, damages, awards, penalties, or
injuries, including, but not limited to, reasonable attorney’s fees, incurred by Lender as a result of, arising out of, or
relating to (a) Borrowers’ breach of the terms, representations, warranties and covenants herein, (b) Borrowers’
violation of applicable laws, and (c) the claim of a third party which arises from any action of the Borrowers, or which
is in any way related to the Collateral or Lender’s security interest, or which arises out of or is related to any
indebtedness incurred by any Borrower. This indemnity shall survive any termination of this Agreement.
20.      ASSIGNMENT AND DELEGATION. The Borrowers may not assign any of their rights under this Agreement
nor delegate any performance under this Agreement. If a purported assignment or purported delegation is made in
violation of this Section 20, it is void. Lender may assign this Agreement or Lender’s rights and interests hereunder.
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21.      SEVERABILITY. If any one or more of the provisions contained in this Agreement is, for any reason, held to
be invalid, illegal, or unenforceable in any respect, that invalidity, illegality, or unenforceability will not affect any
other provisions of this Agreement, but this Agreement will be construed as if those invalid, illegal, or unenforceable
provisions had never been contained in it, unless the deletion of those provisions would result in such a material
change so as to cause completion of the transactions contemplated by this Agreement to be unreasonable.
22.     NOTICES. Notice shall be given in writing by one of the following types of delivery, each of which is a writing
for purposes of this Agreement: personal delivery, mail (registered or certified mail, postage prepaid, return-receipt
requested), nationally recognized overnight courier (fees prepaid), facsimile, or email. A party shall address notices
under this Section 22 to a party at the addresses listed on Schedule F of this Agreement.
23.       WAIVER. No waiver of a breach, failure of any condition, or any right or remedy contained in or granted by
the provisions of this Agreement will be effective unless it is in writing and signed by the party waiving the breach,
failure, right, or remedy. No waiver of any breach, failure, right, or remedy will be deemed a waiver of any other
breach, failure, right, or remedy, whether or not similar, and no waiver will constitute a continuing waiver, unless the
writing so specifies.

24.      HEADINGS. The descriptive headings of the sections and subsections of this Agreement are for convenience
only, and do not affect this Agreement’s construction or interpretation.

25.     COUNTERPARTS. This Agreement may be executed in counterparts (including via fax or .pdf), each of which
when so executed and delivered shall be deemed to be an original and all of which taken together shall constitute
but one and the same instrument.

26.      INTERPRETATION. Any defined term used in the plural shall refer to all members of the relevant class, and
any defined term used in the singular shall refer to any one or more of the members of the relevant class. The terms
“hereunder,” “herewith,” “hereby,” “herein” and “hereof” refer to this Agreement in its entirety, including any
attachments, and not to any individual provision or Section of this Agreement. Neuter or masculine pronouns used
herein shall be deemed to refer to the masculine and the feminine as the context so indicates. All references herein
to “including” shall mean “including without limitation.”

27.     ENTIRE AGREEMENT. This Agreement contains the entire understanding of the Parties with respect to the
subject matter hereof and supersede all prior agreements, covenants, arrangements, communications,
representations or warranties made, whether oral or written, by the Parties or by any officer, employee or
representative of any Party.

28.      PARTIES’ USE OF LEGAL COUNSEL. Each Party acknowledges that it or he has been advised by, or has had
the opportunity to be advised by, its or his own legal counsel in connection with this Agreement. All Parties have
participated in the drafting of this Agreement and agree that no ambiguity herein should be construed against the
draftsman. Each Party has entered into this Agreement freely and voluntarily, without coercion, duress, distress or
under influence by any other Person.

29.     WAIVER OF RIGHT TO JURY TRIAL. EACH PARTY WAIVES ANY RIGHT TO HAVE A JURY PARTICIPATE IN
RESOLVING ANY DISPUTE WHETHER SOUNDING IN CONTRACT, TORT, OR OTHERWISE, BETWEEN ANY OF THE PARTIES
ARISING OUT OF, CONNECTED WITH, RELATING TO, OR INCIDENTAL TO THE RELATIONSHIP ESTABLISHED BETWEEN
THE PARTIES IN CONNECTION WITH THIS AGREEMENT. THE PARTIES EXPRESSLY AGREE THAT ANY DISPUTES
WHATSOEVER BETWEEN THE PARTIES SHALL BE RESOLVED IN A BENCH TRIAL WITHOUT A JURY.

30.     AFFIRMATION OF THE PARTIES. THE PARTIES AFFIRM THAT THEY HAVE ENTERED INTO THIS AGREEMENT
FREELY, VOLUNTARILY, AND WITHOUT RELIANCE ON ANY PROMISES, REPRESENTATIONS, OR OTHER STATEMENTS
NOT CONTAINED IN THIS AGREEMENT AND HAVE READ AND UNDERSTOOD THIS AGREEMENT. EACH BORROWER
HEREBY EXPRESSLY AFFIRMS THAT (I) SUCH BORROWER HAS HAD THIS AGREEMENT REVIEWED BY AN ATTORNEY OR
HAS HAD THE OPPORTUNITY TO HAVE THIS AGREEMENT REVIEWED BY AN ATTORNEY, (II) SUCH BORROWER HAS
HAD AMPLE TIME TO REVIEW THIS AGREEMENT AND HAS IN FACT REVIEWED AND FULLY UNDERSTANDS THIS


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AGREEMENT, AND (III) SUCH BORROWER UNDERSTANDS THE TERMS OF THIS AGREEMENT AND IS ENTERING INTO
THIS AGREEMENT FREELY AND WITHOUT COERCION OR DURESS.




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IN WITNESS WHEREOF, the Parties hereto have executed this Agreement as of the Effective Date.

BORROWERS:

Individual Borrower: Steve Karfaridis

Signature:

By: Steve Karfaridis, Individually


Company Borrower: Meatheads Restaurants, LLC

Signature:

By: Steve Karfaridis, Manager


Company Borrower: Crave Brands, LLC

Signature:

By: Steve Karfaridis, Manager


Company Borrower: Meatheads Franchising, LLC

Signature:

By: Steve Karfaridis, Manager


Company Borrower: KW Restaurant Holdings, LLC

Signature:

By: Steve Karfaridis, Manager


LENDER:

LQD Business Finance, LLC

Signed:

George Souri, not individually, but only as President of LQD Business Finance, LLC




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                                              SCHEDULE A

                                        EXISTING INDEBTEDNESS

                                           Payoff Indebtedness



Funding of the Loan is contingent on the receipt of payoff letters from the above listed lenders.



                                   Approved Additional Indebtedness

1. Gordan Flesh Company, Inc. (“GFC”) – As part of the transaction, Seller intends to assign and Borrower
intends to assume, 5 “non-cancelable” operating leases (with end of lease equipment purchase options for
$1.00) from GFC for POS/back-end computer equipment in 5 restaurants as follows:

Lease #460146 – Willowbrook – Monthly payment $263.89 (2 payments remaining as of 2/25/19)
Lease #460147 – Northbrook – Monthly payment $263.89 (2 payments remaining as of 2/25/19)
Lease #460152 – Naperville – Monthly payment $360.84 (2 payments remaining as of 2/25/19)
Lease #466180 – Champaign – Monthly payment $374.03 (24 payments remaining as of 2/25/19)
Lease #468557 – Roscoe Village – Monthly payment $219.59 (31 payments remaining as of 2/25/19)

2. Coca-Cola North America (“Coca-Cola”) – As part of the transaction, Seller intends to assign and Borrower
intends to assume a Beverage Marketing Agreement (“BMA”) which provides for, among other things,
leasing of Legacy and Freestyle fountain beverage dispensing equipment of Coca Cola products. Coca-Cola
provides dispensing equipment at no upfront cost to Borrower and amortizes the equipment cost over 100
months. No monthly payment is made directly by the Borrower, Coca-Cola deducts the monthly fee from
marketing funds it is obligated to pay Borrower under the BMA.

3. NUCo – As part of the transaction, Seller intends to assign and Borrower intends to assume, rental
agreements for 12 CO2 containers for beverage dispensing in the restaurants. The monthly lease payment
is $72.00 per location.

4. Automatic Icemakers – As part of the transaction, Seller intends to assign and Borrower intends to
assume, one rental agreement for 2 ice machines located in the Willowbrook restaurant. The monthly
payment is $165.00.

5. Culligan Water – As part of the transaction, Seller intends to assign and Borrower intends to assume,
rental agreements for 2 water softeners in the Frankfort and Barrington restaurants. The monthly lease
payment is $30.00 per location.




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                                  SCHEDULE B



  PENDING OR THREATENED LITIGATION OR GOVERNMENTAL INVESTIGATION OR TAX ISSUES.




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                                               SCHEDULE C

       ADDITIONAL REPRESENTATIONS, WARRANTIES, COVENANTS, and CONDITIONS PRECEDENT

On a Month-end basis, or at Borrowers election, every 28 days, Borrowers shall deliver to Lender
consolidating financial statements, in a form and manner acceptable to Lender, to include an income
statement, balance, sheet, and a statement of cash flows which shall be accurate as of the date of
delivery. The consolidating financials shall include store-level financials and consolidating financials.

By not later than April 30, 2020 Within 121 days after the close of each fiscal year of Borrowers, Reviewed
year-end consolidated and consolidating financial statements of Borrower and its Subsidiaries, containing
a balance sheet, income statement, statement of cash flows and a Review Report by an independent
certified public accounting firm selected by Borrower and satisfactory to Lender.

At the end of any Determination Period during the term, Debt Service Coverage shall not be less than 1.40x.
“Debt Service Coverage” shall be calculated by solving for “x” in the following formula: x equals (a)
consolidating EBITDA, divided by (b) total Debt Service.

At the end of any Determination Period during the term, monthly consolidated revenues shall not be less
than $950k in two consecutive periods.

A “Determination Period” shall be a four-week reporting period of the Borrowers’ 13-period operating
cycle. A “Determination Quarter” shall be comprised of any consecutive period of three consecutive
Determination Periods.

As of the 6-month anniversary of the Contract Funding Date, Borrowers shall have a monthly weighted
average EBITDA on a store level basis of not less than 14%, which shall be calculated by dividing the sum
of the EBITDA of each store by the sum of the revenue of each store. As of the 12-month anniversary of
the contract funding date, Borrowers shall have a monthly weighted average EBITDA on a store level basis
of not less than 16%, which shall be calculated by dividing the sum of the EBITDA of each store by the sum
of the revenue of each store. This covenant will test operating margin for the month of the testing date,
not a cumulative year-to-date margin.

On or before March 1, 2019, Borrowers shall enter into a Deposit Account Control Agreement for each
Bank Account, as defined in Section 10 of this Agreement, in a form acceptable to Lender.




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                                     SCHEDULE D

                                    BANK ACCOUNTS


      Bank Name             ABA Number          Account Name        Account Number
Fifth Third Bank                            Meathead Restaurants,
                                                    LLC




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                                  SCHEDULE E

                         ADDITIONAL ELIGIBILITY CRITERIA




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                                                  SCHEDULE F



                                        NOTIFICATION INFORMATION



 If to the Lender:

 LQD Financial Corp.
 329 West 18th Street, Suite 601
 Chicago, IL 60616
 Tel: 855-402-2077
 Fax: 855-491-0797
 Email: notices@lqdfinance.com

If to Borrowers:

       Borrower Name                     Borrower Address                 Borrower Tel     Borrower Email
  Crave Brands, LLC          101 California Street, Suite 2710, San     (949) 338-1506   greekologie@yahoo.
                             Francisco, CA 94111                                         com
  KW Restaurant Holdings,    1278 Glenneyre Street, Suite 128, Laguna   (949) 338-1506   greekologie@yahoo.
  LLC                        Beach, California 92651                                     com
  Meatheads Franchising,     101 California Street, Suite 2710, San     (949) 338-1506   greekologie@yahoo.
  LLC                        Francisco, CA 94111                                         com
  Meatheads Restaurants,     101 California Street, Suite 2710, San     (949) 338-1506   greekologie@yahoo.
  LLC                        Francisco, CA 94111                                         com
  Steve Karfaridis           1278 Glenneyre Street, Suite 128, Laguna   (949) 338-1506   greekologie@yahoo.
                             Beach, California 92651                                     com




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                                     LQD BUSINESS FINANCE LOAN AMENDMENT




                                                         March 25,                                  by and
between LQD Financial Corp.

                                                 RECITALS

WHEREAS, LQD and the Borrowers entered into that certain LQD Loan and Security Agreement Number
5000377 dated February 22,

WHEREAS, the Parties wish to further amend the Loan.

Now Therefore, for good and valuable consideration, the sufficiency of which is hereby acknowledged,
the Parties hereby mutually agree to amend the Loan as follows.



1. Recitals. The foregoing Recitals are hereby integrated and incorporated by reference.

2. Amendments.

             a. The following definitions in Section 1 are replaced and amended as follows (any
                definitions not listed below shall retain the definition in effect prior to this Amendment):


PARTIES.


           Lenders                  LQD Financial Corp.
                                    the signature pages hereof or that executes an assignment agreement
                                    (approved by the Agent) as assignee of any other Lender; provided, that
                                    any Lender that has assigned all of its rights and obligations hereunder
                                    as assignor pursuant to one or more assignment agreement(s)
                                    (approved by the Agent) shall cease to be a Lender hereunder

           Borrowers




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  Borrower        Borrower            Borrower Address                Borrower   Borrower Borrower -       Borrower -
   Name             Type                                                 TIN     - State ID Issuing         State ID
                                                                                 or Entity   State          Number
                                                                                    Type
Steve           Individual     27485 Paseo Amador, San Juan XXX-XXX-             Drivers    CA            XXX3949
Karfaridis                     Capistrano, California 92675 8565                 License
Crave Brands    LLC            1000 N West Street Suite 1501, XXX-XXX-           Limited   DE             XXX1670
LLC                            Wilmington, Delaware 19801     1026               Liability
                                                                                 Company
KW              LLC            1278 Glenneyre Street Suite        XXX-XXX-       Limited   DE             XXX2734
Restaurant                     128, Laguna Beach, California      8548           Liability
Holdings LLC                   92651                                             Company
Meatheads       LLC            350 West Hubbard Street Suite      XXX-XXX-       Limited   IL             XXX8616
Franchising                    640, Chicago, Illinois 60654       7484           Liability
LLC                                                                              Company
Meatheads       LLC            101 California Street Suite 2710, XXX-XXX-        Limited   DE             XXX1200
Restaurants                    San Francisco, California 94111 5094              Liability
LLC                                                                              Company




      LOAN TERMS. Each of the capitalized terms set forth in this Section 1(b) (collectively referred to herein as

      meaning set forth below in this Section 1(b); and (2) with respect to any other Loan, shall have the
      meaning set forth in the records of the Agent.


               Maximum Principal Amount             $6,650,000.00

               Principal Amount                     $6,650,000.00

               Contract Funding Date                3/26/2020

               Maturity Date                        4/28/2020

               First Payment Date                   3/31/2020

               Annual Interest Rate                 17%

               Daily Default Fee                    $923.61

               Number of Payments                   5

               Payment Frequency                    Weekly


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         Payment Day                           Tuesday of each week

         Prepayment Fee                        10%



OTHER DEFINITIONS

          AR Advance Rate                       Is 0% on Eligible Receivables that are 0 days or less
                                                outstanding from the date of the invoice, and 0%
                                                on Eligible Receivables that are more than 0 days
                                                from the date of the invoice.

          Inventory Advance Rate                0%

          WIP Advance Rate                      0%

          PO Advance Rate                       0%



            b. The Covenants schedule listed in Schedule C shall be replaced and amended in its
               entirety as follows (the Conditions shall not be amended):

   (i)   On or before the 5th day of each month, Borrowers shall deliver to Agent financial statements for each
         Company Borrower (or consolidated financial statements for the Company Borrowers) in a form and
         manner acceptable to Agent, in Agent's sole discretion.
  (ii)   Beginning on the Contract Funding Date and on or before every Monday of each week thereafter,
         Borrowers shall deliver to Agent an updated store level P&L Report in a form a manner acceptable to
         Agent, in Agent's sole discretion.
 (iii)   Beginning on the Contract Funding Date and on or before every Monday of each week thereafter,
         Borrowers shall deliver to Agent a 13 Week Cash Flow Report in a form a manner acceptable to Agent,
         in Agent's sole discretion.
 (iv)    So long as any Obligations are outstanding, monthly Debt Service Coverage shall not be less than 1.40x.
          Debt Service Coverage shall be calculated by solving for x in the following formula: x equals (a)
         consolidating EBITDA, divided by (b) total Debt Service.
  (v)    So long as any Obligations are outstanding, monthly consolidated revenues shall not be less than
         $950,000.00 in two consecutive periods.
 (vi)    So long as any Obligations are outstanding, Borrowers shall have a monthly weighted average EBITDA
         on a store level basis of not less than 14%, which shall be calculated by dividing the sum of the EBITDA
         of each store by the sum of the revenue of each store. This covenant will test operating margin for the
         month of the testing date, not a cumulative year-to-date margin.
(vii)    As of the 12-month anniversary of the Contract Funding Date, Borrowers shall have a monthly weighted
         average EBITDA on a store level basis of not less than 16%, which shall be calculated by dividing the sum
         of the EBITDA of each store by the sum of the revenue of each store. This covenant will test operating
         margin for the month of the testing date, not a cumulative year-to-date margin.
(viii)   On or before 120 days of the end of each calendar year, Borrower Crave Brands LLC shall deliver to Agent
         its annual Federal Tax Return or a timely filed extension. In the event Crave Brands LLC timely files a tax

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         extension, then Crave Brands LLC shall deliver its tax return to Agent on the earlier of (i) when actually
         filed, and (ii) when due under applicable law.
 (ix)    On or before 120 days of the end of each calendar year, Borrower Steve Karfaridis shall deliver to Agent
         his annual Federal Tax Return or a timely filed extension. In the event Steve Karfaridis timely files a tax
         extension, then Steve Karfaridis shall deliver his/her tax return to Agent on the earlier of (i) when
         actually filed, and (ii) when due under applicable law.
 (x)     Within 120 days after the close of each fiscal year of Borrowers, Reviewed year-end consolidated and
         consolidating financial statements of Borrower and its Subsidiaries, containing a balance sheet, income
         statement, statement of cash flows and a Review Report by an independent certified public accounting
         firm selected by Borrower and satisfactory to Lender.
 (xi)    On or before March 1, 2019, Borrowers shall enter into a Deposit Account Control Agreement for each
         Bank Account, as defined in Section 10 of this Agreement, in a form acceptable to Lender.

            c. Schedule D shall be replaced and amended in its entirety as follows:


        Bank Name                  ABA Name                   Account Name            Account Number
Fifth Third Bank           071923909                   Meathead Restaurants       7242747538
                                                       LLC
JP Morgan Chase Bank       32271627                    Meatheads Restaurants, 370957919
                                                       LLC
JP Morgan Chase Bank       32271627                    Meatheads Restaurants, 372896081
                                                       LLC - Normal
JP Morgan Chase Bank       32271627                    Meatheads Restaurants, 372896073
                                                       LLC - Bloomington
JP Morgan Chase Bank       32271627                    Meatheads Restaurants, 372896065
                                                       LLC - Champaign
JP Morgan Chase Bank       32271627                    Meatheads Restaurants, 372896057
                                                       LLC - Frankfort
JP Morgan Chase Bank       32271627                    Meatheads Restaurants, 372896032
                                                       LLC - Munster IN
JP Morgan Chase Bank       32271627                    Meatheads Restaurants, 372896016
                                                       LLC - Oak Lawn
JP Morgan Chase Bank       32271627                    Meatheads Restaurants, 372895992
                                                       LLC - Willowbrook
JP Morgan Chase Bank       32271627                    Meatheads Restaurants, 372895976
                                                       LLC - Naperville
JP Morgan Chase Bank       32271627                    Meatheads Restaurants, 372895950
                                                       LLC - Chicago
JP Morgan Chase Bank       32271627                    Meatheads Restaurants, 372895927
                                                       LLC - Barrington



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      Bank Name                 ABA Name                 Account Name        Account Number
JP Morgan Chase Bank    32271627                 Meatheads Restaurants, 372895901
                                                 LLC - Lake Bluff
JP Morgan Chase Bank    32271627                 Meatheads Restaurants, 372895885
                                                 LLC - Northbrook


   3. The Funding Date of this Amendment shall be 3/26/2020

   4. The Administrative Fee of this Amendment shall be $0.00

   5. The Origination Fee of this Amendment shall be $0.00

   6. This Amendment is hereby fully integrated and made part of the Loan.




                                     [Signature Page Follows]




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IN WITNESS WHEREOF, the Parties hereto have executed this Amendment as of the Effective Date.

BORROWERS:


 Company Borrower: Crave Brands LLC

 Signature:   $,'-'"%*(%*)&)+ 2#%* /01 /./.3


 By: Steve Karfaridis, Manager



 Company Borrower: KW Restaurant Holdings LLC

 Signature:
              $,'-'"%*(%*)&)+ 2#%* /01 /./.3

 By: Steve Karfaridis, Manager



 Company Borrower: Meatheads Franchising LLC

 Signature:
              $,'-'"%*(%*)&)+ 2#%* /01 /./.3

 By: Steve Karfaridis, Manager



 Company Borrower: Meatheads Restaurants LLC

 Signature:
              $,'-'"%*(%*)&)+ 2#%* /01 /./.3


 By: Steve Karfaridis, Manager



 Individual Borrower: Steve Karfaridis

 Signature:
              $,'-'"%*(%*)&)+ 2#%* /01 /./.3


 By: Steve Karfaridis, Individually




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LENDERS:

LQD Financial Corp.

Signed:   "&)*'& $)+*( 0#%* -./ -,-,1

George Souri, not individually, but only as President of
LQD Financial Corp.

Initial Pro Rata Share: 100%

CO-LENDERS:


AGENT:

LQD Financial Corp., as the Agent

Signed:
          "&)*'& $)+*( 0#%* -./ -,-,1


George Souri, not individually, but only as President
of LQD Financial Corp.




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Company Borrower: Crave Brands, LLC
Signature: ________________________________
                     %0)1)#'.*'.+(+/ <%)- 46: 4242 35;78 $"&=



By: Steve Karfaridis, Manager


Company Borrower: KW Restaurants Holdings, LLC
Signature: ________________________________
                     %0)1)#'.*'.+(+/ <%)- 46: 4242 35;78 $"&=



By: Steve Karfaridis, Manager


Company Borrower: Meathead Franchising, LLC
Signature: _________________________________
                     %0)1)#'.*'.+(+/ <%)- 46: 4242 35;78 $"&=



By: Steve Karfaridis, Manager


Company Borrower: Meathead Restaurants, LLC
Signature: _________________________________
                     %0)1)#'.*'.+(+/ <%)- 46: 4242 35;78 $"&=



By: Steve Karfaridis, Manager


Individual Borrower: Steve Karfaridis
Signature: _________________________________
                     %0)1)#'.*'.+(+/ <%)- 46: 4242 35;78 $"&=



By: Steve Karfaridis, Individually




LENDERS:
LQD Financial Corp.

Signed: ______________________________
         $'*,(' %*-,) 5%'+ /03 /./. .140/ "#&6




George Souri, not individually, but only as President of LQD Financial Corp.
Initial Pro Rata Share: 100%

CO-LENDERS:

AGENT:
LQD Financial Corp., as the Agent
Signed: ________________________________
         $'*,(' %*-,) 5%'+ /03 /./. .140/ "#&6




George Souri, not individually, but only as President of LQD Financial Corp.




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                                                            EXECUTION VERSION

                      AMENDED AND RESTATED FORBEARANCE
                        AND REAFFIRMATION AGREEMENT

      THIS AMENDED AND RESTATED FORBEARANCE AND
REAFFIRMATION AGREEMENT (the “Agreement”), dated December 18, 2020, is
entered into by and between LQD FINANCIAL CORP. with its principal place of
business at 370 North Carpenter St., Chicago, Illinois 60607 (the “Lender”), and CRAVE
BRANDS, LLC, KW RESTAURANT HOLDINGS, LLC, MEATHEAD
FRANCHISING, LLC, MEATHEAD RESTAURANTS, LLC and STEVE
KARFARIDIS (collectively, “Borrowers” and, along with Lender, the “Parties”).

                                    I. RECITALS

             R.1 WHEREAS, on or about February 22, 2019, LQD Business Finance LLC
(“LQD Business”) provided Borrowers with an initial business loan in the principal
amount of $6,500,000, which was then increased to $6,650,000 (the “Business Loan”)
pursuant to the March Amendment (as defined below), which Business Loan is secured
by a duly perfected first-priority lien upon and security interest in the Collateral; and

              R.2 WHEREAS, the Business Loan is evidenced by that certain LQD
Business Finance Loan Agreement dated February 22, 2019 (the “Original Loan
Agreement”), as amended by that certain LQD Business Finance Loan Amendment dated
September 27, 2019 (the “September Amendment”), as amended by that certain LQD
Business Finance Loan Amendment dated March 25, 2020 (the “March Amendment”)
and as further amended by that certain LQD Business Finance Loan Agreement dated
July 2, 2020 (the “July Amendment” and, along with the Original Loan Agreement, the
September Amendment, the March Amendment, as well as any other documents
evidencing, securing or relating to the Business Loan, as modified from time to time,
including this Agreement and the Pledge Agreements are the “Loan Documents”)
(capitalized terms not otherwise defined herein shall have the meaning set forth in the
Loan Documents); and

              R.3 WHEREAS, LQD Business and Lender are related entities and are
entitled to freely assign between themselves any rights either of them have, have had or
will have under the Loan Documents, including any rights against any of the Borrowers,
and each is entitled to and has the right to enforce the rights and remedies in the Loan
Documents as the Lender thereunder; and

                   i.      WHEREAS, LQD Business assigned and transferred to Lender
all of LQD Business’ property, rights, claims, and entitlements related to the Borrowers,
including the Loan Documents and any property, rights, claims, and entitlements arising
thereunder, such that the term “Lender” in the Original Loan Agreement includes LQD
Financial Corp. and it is the owner and holder of such property, rights, claims and
entitlements and has the ability and right to use, enjoy and enforce such rights, property,
claims and entitlements; and
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                                                                        EXHIBIT D
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            R.4 WHEREAS, certain Existing Events of Default (as defined below) have
occurred under the Loan Documents; and

             R.5 WHEREAS, Lender and LQD Business and each of the Borrowers
entered into that certain Forbearance and Reaffirmation Agreement dated June 26, 2020
(the “Existing Forbearance Agreement”) pursuant to which, among other things, Lender
and LQD Business agreed to forbear from taking certain actions against Borrowers, but
only on the terms and conditions set forth therein; and

             R.6 WHEREAS, Borrowers have advised Lender that they have
implemented or will shortly be implementing certain cost-cutting measures to address
the root causes of the Existing Events of Default and that such measures include, but
may not be limited to, the following items (items (a) through (f) below are collectively the
“Cost-Cutting Measures”):

             (a) unless Meathead Restaurants, LLC’s (“Meathead”) free cash flow (as
determined by cash generated from operations less cash to support operations and for
capital improvements) is positive for the preceding two Determination Periods, Steve
Karfaridis and Michael Webb (the “Principals”) shall not receive payments for current
wages or salary (“Salary”) and such amounts shall be accrued, except that Salary may be
paid and not accrued only to the extent required to achieve forgiveness of amounts
obtained through the Payroll Protection Program;

           (b) headcount reductions consisting of Brian Landstrom, Chelsea Pappas
and Keegan Soule;

               (c) the cessation of services and charges from DogNPony Marketing
Company;

             (d) unless Meathead’s free cash flow (as determined by cash generated from
operations less cash to support operations and for capital improvements) is positive for
the preceding two Determination Periods, Meathead shall not reimburse any automobile
expenses;

             (e) the cessation of all “Mobile App Fees” to the extent that these constitute
Level Up licensing fees; and

             (f) the cessation of reimbursement for travel expenses incurred after May
22, 2020, that are related to Steve Karfaridis’ commute from California.

             R.7 WHEREAS, Lender has the present right to enforce all of its rights and
remedies against the Borrowers pursuant to the Loan Documents either now or upon the
expiration of the forbearance period in the Existing Forbearance Agreement; and

             R.8 WHEREAS, Borrowers and Lender wish to amend and restate the
Existing Forbearance Agreement, but only on the terms and conditions set forth herein
and only on a limited basis, as set forth below; and

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      NOW, THEREFORE, in consideration of the mutual covenants and terms set forth
herein and other good and valuable consideration, the sufficiency and receipt of which
are hereby acknowledged, the Parties hereto agree as follows:

                                   II. AGREEMENT

      1.     Recitals. The recitals set forth above are an integral part of this Agreement
and, therefore, are incorporated by reference into this Agreement as if fully set forth
herein.

      2.      Effective Date of Agreement. This Agreement shall not take effect and it
shall not impose any obligations or duties upon Lender, including, without limitation,
any obligation to forbear, until the satisfaction of the following conditions precedent (the
date on which such conditions have been satisfied in the sole discretion of Lender shall be
the “Effective Date”):

             a.    Each Borrower has executed this Agreement and delivered its
signature to Lender; and

            b.        Lender has executed this Agreement and delivered its signature to
Borrowers; and

             c.     KW Restaurant Holdings LLC has caused the Amended and Restated
Operating Agreement of KW Restaurant Holdings LLC (the “KW LLC Agreement” and,
along with the Crave LLC Agreement, the “LLC Agreements”) appended hereto as
Exhibit B to be executed by the Member of KW Restaurant Holdings LLC and such
Amended and Restated Operating Agreement is in full force and effect and has been
delivered to Lender; and

            d.     Steve Karfaridis has executed and delivered to Lender that certain
LLC Pledge Agreement, a copy of which is appended hereto as Exhibit C (the “Karfaridis
Pledge”), whereby he has pledged all of the Membership Interests in KW Restaurant
Holdings LLC to Lender and has delivered the Certificates signed in blank to Lender;
and

             e.     KW Restaurant Holdings LLC has executed and delivered to Lender
that certain LLC Pledge Agreement, a copy of which is appended hereto as Exhibit D (the
“KW Pledge” and, along with the Karfaridis Pledge, the “Pledge Agreements”) whereby it
has pledged its 61% Membership Interests in Crave Brands LLC to Lender and has
delivered the Certificates signed in blank to Lender.

         3.    Forbearance Period and Termination.

             a.    Forbearance Period. Lender agrees to forbear from exercising its
rights under Paragraph 12 of the Original Loan Agreement commencing on the Effective
Date and ending on the Forbearance Termination Date, and each of the Borrowers agrees
that Lender shall have no obligation to forbear after the Forbearance Termination Date

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and can exercise all rights and remedies after the Forbearance Termination Date, and
each of them shall not assert or contend otherwise in any manner, context or form.

              b.     Forbearance Termination Date. The “Forbearance Termination
Date” is the earlier of: (i) March 31, 2021, subject to any extensions thereof provided by
Lender, in the exercise of its sole discretion and only as set forth in a writing executed by
Lender and delivered to each of the Borrowers and (ii) the date on which a Forbearance
Default occurs (as defined below).

              c.    Forbearance Default. A Forbearance Default shall occur
immediately and without any notice upon the happening, whether or not Lender learns
thereof, of any one or more of the following:

                     i.    Any Borrower breaches, or defaults in the performance of, any
of the provisions or obligations of this Agreement or any of the Loan Documents or an
Event of Default occurs under the Loan Documents or this Agreement, other than the
Existing Events of Default;

                   ii.    Any Borrower fails to implement or fails to continue to
implement any of the Cost Cutting Measures or any actions are taken that are
inconsistent with any of the Cost Cutting Measures;

                   iii.   Any of the representations, covenants or warranties contained
in this Agreement or the Loan Documents is untrue, breached or with the passage of
time will become untrue or breached, except for the Existing Events of Default;

                      iv.    The Amended and Restated Operating Agreement of Crave
Brands LLC (the “Crave LLC Agreement”) appended hereto as Exhibit A has not been
executed by each of the Members of Crave Brands LLC and is not in full force and effect
on or before January 31, 2021, except that the obligation set forth in this subparagraph
(iv) shall not give rise to a Forbearance Default to the extent Borrowers demonstrate to
Lender, in the exercise of Lender’s reasonable satisfaction, that on or before January 31,
2021, Borrowers have exercised commercially reasonable efforts to comply with the
requirements of this subparagraph (iv) but notwithstanding such efforts the Crave LLC
Agreement is not in full force and effect; and

                    v.     Any person interferes with or does not fully cooperate with the
Lender’s exercise of any of its rights under this Agreement, the Loan Documents, the
Pledge Agreements or the LLC Agreements.

             d.      Cross-defaults. Each Borrower jointly and severally hereby
acknowledges and agrees that there will be an Event of Default under this Agreement
and the Loan Documents and a termination of the Forbearance Period (a) if there is a
breach by any Borrower of any term, provision, covenant, or condition herein set forth or
herein required, (b) if, other than the Existing Events of Default, there is a breach by any
of the Borrowers of any term, provision, covenant, or condition set forth in the Loan
Documents, irrespective of whether such default was in effect or occurred as of the
Effective Date, (c) if any Borrower or any other signatory thereto breaches any of the
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terms or conditions imposed upon them by any of the LLC Agreements, and (d) if any
Borrower or any other thereto signatory breaches any of the terms or conditions imposed
upon them by any of the Pledge Agreements.

              e.     Termination of Forbearance Period. Upon the occurrence of the
Forbearance Termination Date, Lender’s agreement to forbear from exercising any of its
rights or remedies against any of the Borrowers shall immediately cease and terminate
without any further action or notice and Lender shall have the unfettered ability and
right to exercise or enforce any and all of its rights and remedies against any of the
Borrowers under the Loan Documents, this Agreement, the LLC Agreements, the Pledge
Agreements or applicable law. Each Borrower acknowledges and agrees that Lender’s
failure to enforce any or all of the remedies or rights under this Agreement, the Loan
Documents, the LLC Agreements, the Pledge Agreements or under law or at equity after
the Forbearance Termination Date is neither intended to, nor will give rise to, a further
extension of the Forbearance Period or the waiver of any rights or remedies.

              f.   Forbearance Claims. Upon the occurrence of the Forbearance
Termination Date, each Borrower acknowledges and agrees it shall not have any claims,
whether for damages or otherwise, against Lender with respect to any such termination
or end of the Forbearance Period, acceleration of the amounts owed to Lender in
accordance with the terms of this Agreement or the Lender’s exercise of its rights under
the Loan Documents, applicable law, or this Agreement.

             g.      Benefits of Forbearance. Each Borrower acknowledges and agrees
that the benefits to it as a result of this Agreement are substantial and of great value
and that such benefits are new and are sufficient and reasonably equivalent
consideration for each and every one of their respective obligations and agreements
under this Agreement.

         4.    Borrowers’ Acknowledgements, Covenants and Agreement:

            a.     Existing Events of Default. Each of the Borrowers irrevocably
acknowledges and agrees that the following defaults or Events of Default occurred under
the Loan Documents and that only such defaults or Events of Default are the “Existing
Events of Default” hereunder:

                   i.     The monthly weighted average EBITDA on a store level basis
has been less than the required 16%;

                       ii.      The Debt Service Coverage ratio has been less than the
required 1.4x;

                   iii.  The monthly consolidated revenues were less than $950,000 for
the periods ending March 22, 2020 and April 19, 2020;

                       iv.      Borrowers have failed to pay sales tax liabilities as and when
due.

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             b.     Amount Due. Each of the Borrowers jointly and severally agree and
acknowledge that (a) as of October 31, 2020, the Obligations are outstanding in the
principal amount of $6,650,000.00 (the “Indebtedness”) and (b) Lender has performed all
obligations and duties owed to each Borrower as of the date hereof, and (c) no Borrower
has any defense, offset or counterclaim with respect to any amounts owed to Lender or
with respect to the performance or observance by Lender of any representation, covenant
or other agreement contained in the Loan Documents, the Existing Forbearance
Agreement, the LLC Agreements or the Pledge Agreements.

               c.    Reaffirmation, Reinstatement and Covenants. Each of the
Borrowers jointly, severally and irrevocably (i) consents to this Agreement; (ii) ratifies,
reaffirms and acknowledges full liability for all of the Obligations, including the amount
of the Indebtedness, the respective payments and performance obligations, contingent or
otherwise, under the Loan Documents and any subordination agreements and
intercreditor agreements relating to the Indebtedness or the Obligations; (iii) ratifies and
reaffirms and acknowledges full liability and enforceability for all security interests,
mortgages, and liens granted for the benefit of Lender and confirms and agrees that such
security interests, mortgages, and liens hereafter secure all of the Obligations and the
full amount of the Indebtedness, (iv) acknowledges and agrees that except as set forth
herein, each of the Loan Documents remains in full force and effect and is hereby ratified
and reaffirmed, (v) reaffirms, remakes as true as of the date hereof and ratifies each of
the Representations, Warranties and Covenants in the Loan Documents, (vi)
acknowledges and agrees that it has no setoffs, defenses, crossclaims, demands,
counterclaims or rights that can be asserted to or, if asserted would, impair or otherwise
limit or reduce Lender’s rights under the Loan Documents or to seek affirmative relief or
damages against Lender, (vii) acknowledges and agrees that in entering into this
Agreement it is not relying upon any statement, representation or action of Lender or its
agents, (viii) acknowledges and agrees that Lender has a duly perfected first priority
security interest in and lien upon all of the Collateral; (ix) agrees, covenants and
acknowledges that, except as expressly set forth herein, the execution of this Agreement
shall not operate as a waiver or modification of any right, power or remedy of Lender,
constitute a waiver of any defaults or other provision of any of the Loan Documents or
serve to effect a novation of any Obligations owed to Lender or any Loan Document; (x)
acknowledges that any obligations of Lender under this Agreement are in the nature of a
conditional forbearance only, and that Lender has made no agreement or commitment to
provide additional forbearance, to modify further or to extend the Loan Documents
beyond the Forbearance Period and that the Existing Events of Default are not cured as
a result of this Agreement; and (xi) acknowledges and agrees that any assignment of
rights under the Loan Documents or this Agreement between LQD Business Finance
LLC and LQD Finance Corp., including any assignment of the Obligations or
Indebtedness or rights in any of the Collateral, constitutes a valid and enforceable
assignment and any reference in any of the Loan Documents to LQD Business shall also
be a reference to LQD Financial Corp.

             d.    Amendment of Loan Documents. Subject to the terms and conditions
of this Agreement, the Loan Documents are amended solely as follows:

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                   i.      The definition of Collateral excludes any household furniture
or other goods used for a Borrower’s personal, family or household purposes; and

                  ii.   Schedule C of the Original Loan Agreement is replaced with
the Schedule C appended hereto, which shall be one of the Loan Documents;

                  iii.  The definition of Maturity Date in Section 1 of the Original
Loan Agreement is replaced with the following: March 31, 2021.

         5.    Remedies.

              a.    Receivership. In addition to any other rights and remedies available
to Lender under the Loan Documents or applicable law upon the occurrence of a
Forbearance Default hereunder, each Borrower agrees, acknowledges, consents and
stipulates that the occurrence of Forbearance Default constitutes and provides the
requisite cause under any applicable law, including the laws of Illinois, justifying the
immediate appointment of a receiver to, among other things, manage the business and
affairs of each Borrower. Each Borrower further stipulates and agrees that upon the
occurrence of a Forbearance Default, it waives and is estopped from asserting any
defenses to the immediate appointment of a receiver.

            b.    Loan Documents, Upon the occurrence of the Forbearance
Termination Date, Lender shall have all of the rights and remedies available under the
Loan Documents and this Agreement, in addition to any others provided under this
Agreement or applicable law.

              c.     Clawback. Notwithstanding anything to the contrary in this
Agreement, the Loan Documents or applicable law, if any payment made to, or other
amount of value received by, Lender on account of the Obligations or Indebtedness is
avoided, rescinded, set aside, or must otherwise be returned by Lender, or a demand for
any of the foregoing is made, whether in a case under the Bankruptcy Code, or a similar
proceeding under any otherwise applicable law, the Indebtedness or Obligations intended
to be repaid or satisfied thereby shall be reinstated (the “Reinstated Amount”), along
with any liens or mortgages securing such Reinstated Amount, without any further
action by any Party and shall be enforceable against each of the Borrowers and the
Collateral.

              d.     Borrowers acknowledge that as a consequence of the Existing
Defaults and the terms of the Loan Documents and this Agreement, Lender is entitled to
enforce its remedies with regard to the Collateral under Article 9 of the UCC or
otherwise without notice to any of the Borrowers, such notice having been waived and
relinquished. Borrowers consent to Lender’s acceptance of the Collateral in full or
partial satisfaction of the Indebtedness, as determined by Lender pursuant to a writing
Lender delivers to Borrowers, with the amount of the Indebtedness satisfied to be
determined by Lender at the time of acceptance.

         6.    Waiver, Release and Discharge and Indemnification.

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               a.     Each of the Borrowers, on its own behalf and on behalf of its
respective representatives, partners, agents, employees, servants, officers, directors,
shareholders, subsidiary, affiliated and related companies, heirs, successors and assigns
(collectively, the “Borrowing Group”) hereby releases and forever discharges Lender, and
its officers, directors, subsidiary, affiliated and related companies, agents, consultants,
attorneys, servants, employees, shareholders, representatives, successors and assigns
(collectively, the “Lender Group”) of and from all manner of actions, cause and causes of
action, suits, debts, sums of money, accounts, reckonings, bonds, bills, specialties,
covenants, contracts, controversies, agreements, promises, obligations, liabilities, costs,
expenses, losses, damages, judgments, executions, claims and demands of whatsoever
kind or nature, in law or in equity, whether known or unknown, concealed or hidden,
foreseen, or unforeseen, contingent or actual, liquidated or unliquidated, arising out of or
relating to any of the Loan Documents, the transactions relating thereto, this
Agreement, the transactions contemplated in this Agreement, and/or any financial
accommodations extended or denied by Lender to Borrowers, that any of the Borrowing
Group, jointly or severally, have had, now have or hereafter can, shall or may have
against the Lender Group, directly or indirectly, through the date hereof. Each Borrower
acknowledges and agrees that Lender is specifically relying upon the representations,
warranties, covenants and agreements contained herein and that such representations,
warranties, covenants and agreements constitute a material inducement to Lender
entering into this Agreement and the transactions contemplated herein. Each Borrower
represents and warrants to Lender and the Lender Group that the Borrowing Group has
not assigned, conveyed or otherwise transferred, either directly or indirectly, in whole or
in part, any of the claims against the Lender Group to be released herein.

              b.     Each Borrower hereby agree to indemnify and hold each entity in the
Lender Group harmless with respect to any and all liabilities, claims, obligations, losses,
penalties, actions, judgments, suits, costs, expenses or disbursements of any kind or
nature whatsoever incurred by each entity in the Lender Group, or any of them, whether
direct, indirect or consequential, as a result of or arising from or relating to any
proceeding, whether threatened or initiated, asserting any claim for legal or equitable
remedy under any statutes, regulations or common law principles arising from or in
connection with the negotiation, preparation, execution, delivery, performance,
administration and enforcement of the Loan Documents, this Agreement or any other
document executed in connection herewith. The foregoing indemnity shall survive the
payment in full of the obligations owed to Lender and the termination of this Agreement
and the Loan Documents.

      7.    Additional Covenants by Borrowers. In addition to any of the other
Covenants in any of the Loan Documents, each of the Borrowers jointly and severally
covenant and agree:

             a.     Consultants. During the Forbearance Period and thereafter, each
Borrower will cooperate fully with representatives of any consultant, financial advisor or
similar entity or person (a “Consultant”) engaged by Lender or any Borrower to assess
and address matters germane to any Borrower's performance under the Loan
Documents, including, without limitation, any Borrowers business operations. Without
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limiting the generality of the foregoing, Borrowers acknowledge and agree that any
Consultant retained by Lender (a “Lender Consultant”) or Borrowers will be authorized
to do the following during the Forbearance Period and at any time thereafter: (i) assist in
the preparation, evaluation and revisions of any Borrower’s business plans, cash flow
forecasts (including a 13-week cash flow forecast) and financial projections, test any
Borrower’s critical assumptions, identify opportunities for improvement in the planning
process and, as appropriate, assist management in the implementation and control of
such programs; (ii) assist in projecting and managing each of the Borrower’s cash
position and trade credit on an ongoing basis and in preparing such projections, reports,
budgets, and analyses as may be reasonably required by any Borrower’s lenders or
investors; and (iii) develop processes and procedures to ensure that the Lender's
information needs are met in a timely manner, including borrowing base certificates and
all financial reporting requirements. Borrowers further agree that they shall pay the
fees and expenses of any Lender Consultant.

              b.     In the event of the filing of any petition for bankruptcy relief filed by
or against any of the Borrowers (a “Bankruptcy Filing”), such Borrower consents to the
entry of an order granting Lender relief from the automatic stay of Section 362 of the
Bankruptcy Code and shall not assert or request any other party to assert that the
automatic stay provided by Section 362 of the Bankruptcy Code shall operate or be
interpreted to stay, interdict, condition, reduce, or inhibit the ability of Lender to enforce
any rights it has under the Loan Documents or any other rights Lender has against any
Borrower or against any property owned by any Borrower. Without limiting the
generality of the foregoing, each Borrower acknowledges and agrees, and is estopped
from contesting, that cause for relief from the automatic stay shall exist if any of the
Borrowers are subject to a Bankruptcy Filing.

              c.    Each of the Borrowers covenants and agrees that notwithstanding
anything to the contrary under any otherwise applicable law (a) any information, know-
how, data or trade secrets, including any that is confidential (collectively, “Information”),
that is disclosed to Lender or any Lender Consultant by any of the Borrowers or
otherwise obtained by Lender or any Lender Consultant may be used or disclosed by
Lender or any Lender Consultant in furtherance of any efforts undertaken by Lender or
any Lender Consultant to facilitate a transaction involving any of the Borrowers (a
“Transaction”) or to preserve and protect Lender’s rights in the Collateral or enhance
Lender’s chances of recovering payment of the Obligations or Indebtedness, irrespective
of any default thereof, (b) a Transaction may include, without limitation, additional loans
made to any of the Borrowers, additional equity invested in any of the Borrowers or a
sale of any of the Borrowers or their assets, (c) no action taken by Lender or any Lender
Consultant in connection with this Agreement, the Loan Documents or the enforcement,
preservation or protection of Lender’s rights, including, without limitation, any action
taken related to a Transaction, shall give rise to, create or establish a fiduciary
relationship or fiduciary duty between any of the Borrowers and Lender or any Lender
Consultant, it being agreed that at all times the relationship between Lender and each of
the Borrowers shall be a debtor/creditor relationship, and (d) any action taken by Lender
pursuant to this Agreement or the Loan Documents, including, without limitation, any
related to a Transaction, shall be in furtherance of Lender’s rights as a secured creditor.
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      8.    Additional Provisions:

             a.     Successors and Assigns/No Third-Party Beneficiaries. This
Agreement is binding upon and shall inure to the benefit only of each of the signatories
hereto and their respective successors and assigns. No Person other than the signatories
hereto, and those in the Lender Group referenced in paragraph 6, shall have any rights
hereunder or be entitled to rely on this Agreement and all third-party beneficiary rights
(other than the rights of the Lender Group set forth in paragraph 6) are hereby expressly
disclaimed.

             b.     Further Assurances. Each Borrower shall promptly execute and/or
deliver any other agreements or documents and take such other actions Lender deems
necessary, in the exercise of its sole discretion, to achieve the objectives of this
Agreement.

              c.     Advice of Counsel. The wording of this Agreement was reviewed by
legal counsel for each of the Parties and each of them had sufficient opportunity to
propose and negotiate changes prior to its execution and enters into this Agreement
freely and of their own volition and without any duress or coercion. The wording of this
Agreement shall not be construed in favor of or against any Party.

            d.    Time is of the Essence. Time is of the essence with respect to each
Borrower’s performance of its respective obligations under this Agreement.

               e.    Relationship. Each Borrower agrees that the relationship between
Lender and each Borrower is that of creditor and debtor and not that of partners or joint
venturers and that no action taken by Lender pursuant to the terms hereof shall give
rise to a joint venture or partnership relationship. This Agreement does not constitute a
partnership agreement, or any other association between Lender and any Borrower.
Each Borrower acknowledges that Lender has acted at all times only as a creditor to each
Borrower within the normal and usual scope of the activities normally undertaken by a
creditor and in no event has Lender attempted to exercise any control over each
Borrower or its business or affairs. Each of the Borrowers acknowledges and agrees that
at no time shall Lender owe any fiduciary or other enhanced duty to any of the Borrowers
and each Borrower disavows the existence of creation of a fiduciary or enhanced duty,
particularly when Lender is exercising any of the rights granted pursuant to this
Agreement or the Loan Documents.

             f.     Merger; Modification. This Agreement embodies the entire
agreement between the parties hereto with respect to the matters addressed herein and
supersedes all prior oral and written and all contemporaneous oral communications with
respect to such matters. This Agreement shall not be modified or amended or extended
except in written form signed by each of the Parties hereto. In entering into this
Agreement and agreeing to be bound by the terms hereof, each Borrower is not relying
upon any statements outside of this Agreement.

             g.     Counterparts. This Agreement may be signed in counterparts, each
of which shall be deemed an original and all of which shall be deemed to constitute one
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agreement. Except as set forth herein, any party hereto may execute and deliver a
counterpart of this Agreement by delivering by facsimile or email a signature page of this
Agreement signed by such party and such signature shall be treated in all respects as
having the same effect as an original signature.

             h.     No Custom; Section Headings. This Agreement shall not establish
a custom or course of dealing. The section headings and captions herein are for
convenience of reference only and shall not be deemed to limit, impair or affect the
interpretation and construction of the terms hereof.

               i.     Notices.

                    i.     To each Borrower. All notices or other information sent by
Lender to each Borrower in connection with this Agreement and the Loan Documents
must be in written form and may be sent, in Lender’s Sole Discretion, by (a) personal
delivery, (b) prepaid overnight courier, (c) certified mail, return receipt requested,
postage prepaid, (d) confirmed telecopy or other facsimile transmission, or (e) email,
addressed, as applicable, as follows:


               Borrowers.

               Crave Brands, LLC,
               Meathead Franchising. LLC &
               Meathead Restaurants, LLC

               101 California Street.
               Suite 2710
               San Francisco, CA 94111

               KW Restaurant Holdings, LLC &
               Steve Karfaridis

               1278 Glenneyre Street
               Suite 128
               Laguna Beach, CA 92651

                  ii.    To Lender. All notices or other information sent by each
Borrower to Lender in connection with this Agreement and the Loan Documents, must be
in writing and must be sent by prepaid overnight courier, addressed as follows:

               If to Lender:

               LQD Financial Corp.
               370 Carpenter St.
               Chicago, IL 60607

               With a copy to:
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               William J. Factor
               FactorLaw
               105 W. Madison Street, Suite 1500
               Chicago, IL 60602

              j.    Change of Address. The parties may designate another addressee
or change its address for notices and other communications hereunder by a notice given
to the other parties in the manner provided in this paragraph. A notice or other
communication sent in compliance with the provisions of this paragraph shall be deemed
good and sufficient service regardless of whether the parties actually receive such notice,
except that notice to Lender shall be deemed given only upon receipt by Lender.

     9.   GOVERNING LAW/VENUE. THIS AGREEMENT SHALL BE DEEMED
A CONTRACT MADE UNDER THE LAWS OF THE STATE OF ILLINOIS AND SHALL
BE CONSTRUED AND ENFORCED IN ACCORDANCE WITH AND GOVERNED BY
THE LAWS OF THE STATE OF ILLINOIS, WITHOUT REFERENCE TO CHOICE OF
LAW PRINCIPLES THAT WOULD, IF APPLIED, LEAD TO THE APPLICATION OF
THE LAW OF ANOTHER STATE. ANY AND ALL DISPUTES BETWEEN ANY OF
THE BORROWERS AND LENDER SHALL BE RESOLVED PURSUANT TO ILLNOIS
LAW, WITHOUT REFERENCE TO CHOICE OF LAW PRINCIPLES THAT WOULD, IF
APPLICABLE, LEAD TO THE APPLICATION OF THE LAW OF ANOTHER STATE.
EACH BORROWER HEREBY IRREVOCABLY SUBMITS ITSELF TO THE
EXCLUSIVE JURISDICTION OF THE STATE AND FEDERAL COURTS OF THE
STATE OF ILLINOIS AND AGREES AND CONSENTS THAT SERVICE OF PROCESS
MAY BE MADE UPON IT IN ANY LEGAL PROCEEDING RELATING TO THIS
AGREEMENT BY UNITED STATES MAIL, FIRST CLASS POSTAGE, OR ANY
OTHER MEANS ALLOWED UNDER ILLINOIS OR FEDERAL LAW. EXCLUSIVE
VENUE FOR ANY LEGAL PROCEEDING BETWEEN THE PARTIES SHALL BE
COOK COUNTY, ILLINOIS OR, IN LENDER’S SOLE DISCRETION, ANY OTHER
VENUE PERMITTED BY APPLICABLE LAW AND LENDER MAY BRING AN
ACTION IN ANOTHER VENUE TO THE EXTENT DOING SO IS NECESSARY, IN
LENDER’S SOLE DISCRETION, TO ENFORCE LENDER’S RIGHTS AGAINST ANY
OF THE BORROWERS, ANY OF THEIR PROPERTY OR ANY OF THE COLLATERAL.

     10.  WAIVER OF JURY TRIAL. EACH BORROWER HEREBY WAIVES ANY
RIGHT TO TRIAL BY JURY OF ANY CLAIM, DEMAND, ACTION, CAUSE OF
ACTION, SUIT OR PROCEEDING (A) ARISING UNDER THIS AGREEMENT OR ANY
OF THE LOAN DOCUMENTS OR (B) IN ANY WAY CONNECTED WITH OR
RELATED TO OR INCIDENTAL TO THE DEALINGS OF THE PARTIES HERETO
WITH RESPECT TO THIS AGREEMENT OR ANY OF THE LOAN DOCUMENTS OR
THE TRANSACTIONS RELATED THERETO, IN EACH CASE WHETHER NOW
EXISTING OR HEREAFTER ARISING, AND WHETHER SOUNDING IN CONTRACT,
TORT OR OTHERWISE. EACH BORROWER HEREBY AGREES AND CONSENTS
THAT ANY SUCH CLAIM, DEMAND, ACTION, CAUSE OF ACTION, SUIT OR
PROCEEDING SHALL BE DECIDED BY A COURT TRIAL, WITHOUT A JURY, AND
THAT ANY PARTY MAY FILE AN ORIGINAL COUNTERPART OR COPY OF THIS

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AGREEMENT WITH ANY COURT AS WRITTEN EVIDENCE OF THE CONSENT OF
THE PARTIES HERETO TO THE WAIVER OF THEIR RIGHT TO TRIAL BY JURY.

       IN WITNESS WHEREOF, the parties have executed this Agreement as of the
date first set forth above.




LQD Business Finance LLC                 Crave Brands, LLC

By:__________________________            By:___________________________

Its:__________________________           Its:___________________________

LQD Finance Corp.                        Meathead Franchising. LLC

By:__________________________            By:__________________________

Its:__________________________           Its:__________________________

                                         Meathead Restaurants, LLC

                                         By:_________________________

                                         Its:_________________________

                                         Steve Karfaridis

                                         By:_________________________

                                         KW Restaurant Holdings, LLC

                                         By:_________________________

                                         Its:_________________________




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                                              SCHEDULE C

      ADDITIONAL REPRESENTATIONS, WARRANTIES, COVENANTS, and CONDITIONS PRECEDENT

On a Month-end basis, or at Borrowers’ election, every 28 days, Borrowers shall deliver to Lender
consolidating financial statements, in a form and manner acceptable to Lender, to include an income
statement, balance, sheet, and a statement of cash flows which shall be accurate as of the date of
delivery. The consolidating financials shall include store-level financials and consolidating financials.

By not later than April 30, 2020 and then within 121 days after the close of each fiscal year for
Borrowers, reviewed year-end consolidated and consolidating financial statements of each Borrower
and any of its subsidiaries, containing a balance sheet, income statement, statement of cash flows and a
Review Report by an independent certified public accounting firm selected by Borrowers and
satisfactory to Lender.

At the end of any Determination Period, Debt Service Coverage shall not be less than 1.40x. “Debt
Service Coverage” shall be calculated by solving for “x” in the following formula: x equals (a)
consolidating EBITDA, divided by (b) total Debt Service.

Monthly consolidated revenues shall not be less than (i) $850,000 in Determination Period 12 of 2020;
(ii) $850,000 in Determination Period 13 of 2020; (iii) $850,000 in Determination Period 1 of 2021; (iv)
$900,000 in Determination Period 2 of 2021; and (v) $900,000 in Determination Period 3 of 2021 and
thereafter.

Meatheads Restaurants, LLC shall not permit cash held at Fifth Third Bank to be less than $100,000 for
more than any 5 consecutive Bank business day period.

A “Determination Period” shall be a four-week reporting period of the Borrowers’ 13-period operating
cycle. A “Determination Quarter” shall be comprised of any consecutive period of three consecutive
Determination Periods.

On a consolidated basis, Borrowers shall have a monthly weighted average EBITDA on a location level
basis (“Monthly Weighted EBITDA”) of not less than (i) 14% for Determination Period 12 of 2020; (ii)
14% for Determination Period 13 of 2020; (iii) 14% for Determination Period 1 of 2021; (iv) 15% for
Determination Period 2 of 2021; and (v) 15% for Determination Period 3 of 2021 and thereafter. The
Monthly Weighted EBITDA shall be calculated by dividing the sum of the EBITDA of each location by the
sum of the revenue of each location.

On or before March 1, 2019, Borrowers shall enter into a Deposit Account Control Agreement for each
Bank Account, as defined in Section 10 of this Agreement, in a form acceptable to Lender.




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